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             EXHIBIT A
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                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:     (310) 883-6400
                    5   MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    6   KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    7   JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    8   ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                    9   3175 Hanover Street
                        Palo Alto, CA 94304-1130
                   10   Telephone:     (650) 843-5000
                   11   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   12   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   13   Palo Alto, CA 94304
                        Telephone: (650) 815-4131
                   14   [Full Listing on Signature Page]
                   15   Counsel for Defendant Meta Platforms, Inc.
                   16                              UNITED STATES DISTRICT COURT

                   17                           NORTHERN DISTRICT OF CALIFORNIA

                   18                                      SAN FRANCISCO DIVISION

                   19   RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC

                   20   Individual and Representative
                                                                       DEFENDANT META PLATFORMS, INC.’S
                   21                        Plaintiffs,               AMENDED OBJECTIONS AND RESPONSES TO
                                                                       PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                   22          v.                                      ADMISSIONS

                   23   META PLATFORMS, INC., a Delaware
                        corporation;
                   24
                                             Defendant.
                   25

                   26
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                    META’S AMENDED OBJ & RESPS TO
                                                                                          PLTF’S FIRST SET OF RFA’S
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                    1   PROPOUNDING PARTY:          PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                    GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                               DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                                                    RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                    3                               TERKEURST, AND CHRISTOPHER FARNSWORTH

                    4   RESPONDING PARTY:           DEFENDANT META PLATFORMS, INC.

                    5   SET NUMBER:                  ONE

                    6          Pursuant to Rule 36 of the Federal Rules of Civil Procedure (“Rules”), Defendant Meta
                    7   Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,
                    8   Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,
                    9   Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and
                   10   Christopher Farnsworth’s First Set of Requests for Admissions (“Requests”).
                   11   I.     RESPONSES TO ALL REQUESTS
                   12          1.      Meta’s responses to the Requests are made to the best of Meta’s present knowledge,
                   13   information, and belief. Said responses are at all times subject to such additional or different
                   14   information that discovery or further investigation may disclose, and Meta reserves the right to
                   15   amend, revise, correct, supplement, or clarify the responses and objections propounded herein.
                   16          2.      To the extent that Meta responds to Plaintiff’s Requests by stating that Meta will
                   17   provide information and/or documents which Meta or any other party to this litigation deems to
                   18   embody material that is private, business confidential, proprietary, trade secret, or otherwise
                   19   protected from disclosure pursuant to Rule 26(c)(7) or Federal Rule of Evidence 501, Meta will do
                   20   so pursuant to the Stipulated Protective Order entered in this case (Dkt. 90).
                   21          3.      The provision of a response to any of these Requests does not constitute a waiver of
                   22   any objection regarding the use of said response in these proceedings. Meta reserves all objections
                   23   or other questions as to the competency, relevance, materiality, privilege or admissibility as
                   24   evidence in any subsequent proceeding in or trial of this or any other action for any purpose
                   25   whatsoever of this response and any document or thing produced in response to the Requests.
                   26          4.      Meta reserves the right to object on any ground at any time to such other or
                   27   supplemental requests for admission that Plaintiffs may propound involving or relating to the
                   28   subject matter of these Requests.
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ATTORNEYS AT LAW                                                                           META’S AMENDED OBJ & RESPS TO
                                                                   1                             PLTF’S FIRST SET OF RFA’S
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                    1   II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

                    2          Whether or not separately set forth in response to each Request, Meta makes these

                    3   objections to the following Instructions and Definitions.

                    4          1.      Meta objects to all defined terms to the extent that they are not utilized in Plaintiffs’

                    5   First Set of Requests for Admission.

                    6          2.      Meta objects to the definition of "Complaint," which refers to the production of

                    7   documents in response to Plaintiffs' Requests for Admission. Meta will construe "Complaint" to

                    8   refer to Plaintiffs' Corrected Second Consolidated Amended Complaint (Dkt. 133), filed September

                    9   9, 2024.

                   10          3.      Meta objects to the definition of “Dataset(s)” as vague, ambiguous, as to the phrase

                   11   “all collections of data,” which is indefinite and overbroad. Meta further objects to the definition

                   12   of “Dataset(s)” as vague and ambiguous as to the phrase “referenced, or intended to be used,”

                   13   which, read literally, would encompass any dataset referenced by any Meta employee in the context

                   14   of the development, training, validation, testing, or evaluation of LLMs and any datasets that were

                   15   intended for such use but not actually used. Meta further objects to this definition to the extent it

                   16   purports to include datasets that include content to which Plaintiffs have made no claim of

                   17   ownership and which are not the subject of any allegations of copyright infringement by Plaintiffs.

                   18   Meta will construe “Dataset(s)” to mean the textual datasets used to train the Llama Models (as

                   19   construed below).

                   20          4.      Meta objects to the definition of “Llama Models” as vague and ambiguous as to the
                   21   terms and phrases “other AI models,” “instances,” “iterations,” “versions,” “updates,”

                   22   “modifications,” “original version,” “experimental versions,” “subsequent versions,” and

                   23   “refinements to the underlying algorithm, parameters, or architecture,” as applied to Llama and

                   24   “any other AI models developed or in development by Meta.” Meta further objects to this definition

                   25   as overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent that

                   26   it purports to require Meta to produce documents concerning large language models (“LLMs”) that
                   27   were not publicly released and/or were not trained on corpuses of text that allegedly include any of

                   28   Plaintiffs’ allegedly copyrighted works. For the same reason, Meta objects to this definition to the
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ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
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                    1   extent that it purports to require Meta to produce documents that are not relevant to any party’s

                    2   claims or defenses. Meta will construe “Llama Models” to mean the models within the Llama

                    3   family of LLMs that have been publicly released by Meta, namely, Llama 1, Llama 2, Code Llama,

                    4   and Llama 3, and the models Llama 4 and Llama 5, which remain under development.

                    5          5.      Meta objects to the definitions of “Llama 1,” “Llama 2,” and “Llama 3” as vague

                    6   and ambiguous as to the undefined terms “precursor models” and “variant models.” Meta further

                    7   objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of

                    8   the case to the extent that it purports to require Meta to produce documents or information

                    9   concerning LLMs that were not publicly released and/or were not trained on corpuses of text that

                   10   include any of Plaintiffs’ allegedly copyrighted works. For the same reason, Meta objects to these

                   11   definitions to the extent that they purport to require Meta to produce documents or information

                   12   concerning LLMs that are not relevant to any party’s claims or defenses. For purposes of these

                   13   responses, Meta construes the term “Llama 1” to refer to the LLM released by Meta as Llama on

                   14   February 24, 2023, the term “Llama 2” to refer to the LLM released by Meta under that name on

                   15   July 18, 2023, and the term “Llama 3” to refer to the LLMs released by Meta under that name on

                   16   April 18, 2024, July 23, 2024, and September 25, 2024.

                   17          6.      Meta objects to the definition of “Meta” as overbroad and unduly burdensome to the

                   18   extent it seeks to impose on Meta an obligation to investigate information or documents outside of

                   19   its possession, custody, or control. For purposes of these responses, Meta construes the term

                   20   “Meta” or “You” to mean Meta Platforms, Inc. and its officers, directors, employees, and
                   21   authorized agents working on its behalf and subject to its control.

                   22          7.      Meta objects to the definition of “Relevant Period” as vague, ambiguous, and

                   23   unintelligible, as it is defined circularly to mean “all times relevant to … the Complaint.” Meta

                   24   construes the Relevant Period to mean January 1, 2022 to the present.

                   25          8.      Meta objects to Instruction 4 to the extent it purports to require more of Meta than

                   26   any obligation imposed by law, and to the extent it purports to require Meta to disclose information
                   27   protected by attorney-client privilege and/or the attorney work product doctrine.

                   28          9.      Meta objects to Instruction 5 as overbroad and unduly burdensome to the extent it
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ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1   purports to require more of Meta than any obligation imposed by law.

                    2          10.     Meta objects to Instruction 8 insofar as it provides that any Request will be deemed

                    3   admitted as a result of an undefined "inadequate" response, without requiring Plaintiffs to bring a

                    4   motion regarding the sufficiency of an answer or objection, as required under Fed. R. Civ. P.

                    5   36(a)(6).

                    6   III.   AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL DOCUMENT REQUESTS

                    7   REQUEST FOR ADMISSION NO. 1:
                    8
                               Admit that Meta created and maintains the large language models known as Llama.
                    9
                        AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 1:
                   10
                               Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   11

                   12   own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   13   as compound.

                   14          Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   15   admits that it maintains those versions of the large language models known as Llama (i.e., Llama
                   16
                        1, Llama 2, Llama 3) that are provided by Meta through Meta’s website and Meta’s hosting partners
                   17
                        Amazon, Google, and Microsoft. Meta denies that it maintains versions of Llama that are under
                   18
                        the control of licensees or unauthorized third party users of the Llama models. Except as expressly
                   19

                   20   admitted, Meta denies the Request.

                   21   REQUEST FOR ADMISSION NO. 2:

                   22          Admit that the Llama Models are large language models designed to emit naturalistic text
                   23
                        outputs in response to user prompts.
                   24
                        RESPONSE TO REQUEST FOR ADMISSION NO. 2:
                   25

                   26          Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   27   own definitions stated therein, which are applicable to this Request. Meta objects to the terms

                   28   “designed to” and “naturalistic” as vague and ambiguous, as it is unclear whether this Request is
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ATTORNEYS AT LAW                                                                          META’S AMENDED OBJ & RESPS TO
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                    1   asking for an admission regarding Meta’s intended purpose of the Llama Models or about their

                    2   functionality.

                    3           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    4   admits that one of the functions of the Llama Models is to emit natural language text outputs in

                    5   response to user prompts. Except as expressly admitted, Meta denies the Request.

                    6   REQUEST FOR ADMISSION NO. 3:

                    7           Admit that the Dataset used to train Llama 1 included copyrighted books.

                    8   AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 3:

                    9           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   10   own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   11   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train

                   12   Llama 1. Meta objects to this Request to the extent that it calls for a legal conclusion as to

                   13   “copyrighted books,” and on the ground that it does not specify any copyrighted books or otherwise

                   14   define this term.

                   15           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   16   admits that it used one or more Datasets that included text from a published and commercially-

                   17   available version of one or more copyrighted books to train Llama 1. Except as expressly admitted,

                   18   Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                   19   denies it.

                   20   REQUEST FOR ADMISSION NO. 4:
                   21           Admit that the Dataset used to train Llama 2 included copyrighted books.

                   22   AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 4:

                   23           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   24   own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   25   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train

                   26   Llama 2. Meta objects to this Request to the extent that it calls for a legal conclusion as to
                   27   “copyrighted books,” and on the ground that it does not specify any copyrighted books or otherwise

                   28   define this term.
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ATTORNEYS AT LAW                                                                           META’S AMENDED OBJ & RESPS TO
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                    1           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    2   admits that it used one or more Datasets that included text from a published and commercially-

                    3   available version of one or more copyrighted books to train Llama 2. Except as expressly admitted,

                    4   Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                    5   denies it.

                    6   REQUEST FOR ADMISSION NO. 5:

                    7           Admit that the Dataset used to train Llama 3 included copyrighted books.

                    8   AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 5:

                    9           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   10   own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   11   “Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train

                   12   Llama 3. Meta objects to this Request to the extent that it calls for a legal conclusion.

                   13           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   14   admits that it used one or more Datasets that included text from a published and commercially-

                   15   available version of one or more copyrighted books to train Llama 3. Except as expressly admitted,

                   16   Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                   17   denies it.

                   18   REQUEST FOR ADMISSION NO. 6:

                   19           Admit that the Dataset used or that will be used to train Llama 4 included copyrighted books.

                   20   AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 6:
                   21           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   22   own definitions stated therein, which are applicable to this Request. Meta objects to the term “the

                   23   Dataset” as vague and ambiguous, to the extent it suggests that Meta used a single dataset to train

                   24   Llama 4. Meta objects to this Request to the extent that it calls for a legal conclusion as to

                   25   “copyrighted books,” and on the ground that it does not specify any copyrighted books or otherwise

                   26   define this term. Meta objects to this Request as purely speculative and not relevant to the claims
                   27   or defenses of any party insofar as Meta has not yet released Llama 4 and Meta is in the process of

                   28   finalizing the data corpus for Llama 4.
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ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
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                    1           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    2   admits that text from a published and commercially-available version of one or more copyrighted

                    3   books is included in a Dataset that could be used to train Llama 4. Except as expressly admitted,

                    4   Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                    5   denies it.

                    6   REQUEST FOR ADMISSION NO. 7:

                    7           Admit that You did not obtain permission or consent from the relevant copyright owners to

                    8   use all copyrighted books in the Datasets used to train Llama Models.

                    9   AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 7:

                   10           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   11   own definitions stated therein, which are applicable to this Request. Meta objects to the Request

                   12   as vague, ambiguous, and unintelligible as to “use all copyrighted books in the Datasets.” Meta

                   13   also objects on the ground that the terms “relevant copyright owners” and “copyrighted books” are

                   14   vague, ambiguous, indefinite, undefined, and overbroad in that they are untethered to the allegedly

                   15   copyright registered works at issue in this Action. Meta further objects to this Request on the

                   16   ground that information about who the “relevant copyright owner” is for any allegedly copyrighted

                   17   book or its contents is outside of Meta’s possession, custody, or control. Even reviewing the

                   18   copyright registration or copyright notice in a book would not tell Meta who the “relevant copyright

                   19   owner” is of any book, because, e.g., all or some of the exclusive rights of copyright could have

                   20   been assigned, could be invalid, could have been contributed to the public domain, or could have
                   21   been registered through error or fraud in the name of a person other than the author/true copyright

                   22   owner. Moreover, even where an author owns the copyright to a book, that copyright may not

                   23   cover all text in the book (by way of example, content contributed by another author, or previously

                   24   published or registered works appearing in a collection or anthology, such as a collection of short

                   25   stories, are not covered by any copyright in the book, whether registered or not). Meta construes

                   26   the term “relevant copyright owner” as used in this Request to refer to the person identified in the
                   27   book as the copyright owner, without admitting that such person in fact owns a valid copyright in

                   28   the book or what it covers. Meta further objects to this Request as overly burdensome and
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ATTORNEYS AT LAW                                                                           META’S AMENDED OBJ & RESPS TO
                                                                   7                             PLTF’S FIRST SET OF RFA’S
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                    1    disproportionate to the needs of the case insofar as it would require Meta to attempt to ascertain the

                    2    “relevant copyright owner” of “all copyrighted books” in its training Datasets, which Plaintiffs

                    3    assert comprised thousands of books. Meta objects to the Request as compound insofar as it seeks

                    4    an admission as to multiple datasets used to train Llama Models. Meta objects to this Request to

                    5    the extent it improperly suggests that Meta participated in the selection of books or other content

                    6    to be included in the datasets used to train the Llama Models or that Meta was required to obtain

                    7    permission from copyright owners to train the Llama Models on any unspecified content of books

                    8    they authored or to which they own the copyright.

                    9           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   10    admits that one or more Datasets used to train its Llama Models contained text from published and

                   11    commercially-available versions of one or more copyrighted books for which it did not obtain

                   12    permission or consent from the relevant copyright owner(s) (as construed above). Except as

                   13    expressly admitted, Meta lacks information sufficient to form a belief as to the truth of this request,

                   14    and on that basis denies it.

                   15    REQUEST FOR ADMISSION NO. 8:

                   16           Admit that You did not obtain permission from Plaintiffs to include the content of books

                   17    they authored in the Datasets used to train Llama Models.

                   18    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 8:

                   19           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   20    own definitions stated therein, which are applicable to this Request. Meta objects to the Request
                   21    as compound insofar as it seeks an admission as to multiple datasets used to train Llama Models.

                   22    Meta further objects on the ground that the term “content of books they authored” is vague,

                   23    ambiguous, indefinite, undefined, and overbroad in that it is untethered to the allegedly copyright

                   24    registered works at issue in this Action. Meta further objects to this Request on the ground that

                   25    information about who authored the books at issue in this case is outside of Meta’s possession,

                   26    custody, or control. Even reviewing the copyright registration or copyright notice in a book would
                   27    not tell Meta who “authored” all or any part of the book, because the information may be inaccurate.

                   28    In this case, authorship is a disputed issue as to at least one at-issue work. Moreover, even where
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ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    a person is identified as the “author” of a book in a copyright notice or registration, that authorship

                    2    may not extend to all text in the book (by way of example, content contributed by another author,

                    3    or previously published or registered works appearing in a collection or anthology, such as a

                    4    collection of short stories, would not be authored by the copyright holder and are not covered by

                    5    any copyright in the book, whether registered or not). For purposes of its response below, Meta

                    6    construes the term “books they authored” as used in this Request to refer to the at-issue books

                    7    Plaintiffs claim in this case to have authored, without admitting that any Plaintiff was, in fact, the

                    8    author or owns a valid copyright in the book, and without admitting what any copyright in the book

                    9    may cover. Meta objects to this Request to the extent it improperly suggests that Meta participated

                   10    in the selection of books or other content to be included in the datasets used to train the Llama

                   11    Models or that Meta was required to obtain permission from Plaintiffs to train the Llama Models

                   12    on any unspecified content of books they authored.

                   13           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   14    admits that it did not seek or obtain permission from Plaintiffs to train Llama Models using Datasets

                   15    that included books Plaintiffs claim in this action to have authored. Except as expressly admitted,

                   16    Meta denies the Request.

                   17    REQUEST FOR ADMISSION NO. 9:

                   18           Admit that You did not compensate Plaintiffs for the inclusion of the content of books they

                   19    authored in the Datasets used to train Llama Models.

                   20    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 9:
                   21           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   22    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   23    “compensate” as vague and ambiguous. Meta will construe “compensate” to refer to financial

                   24    compensation. Meta objects to the Request as compound insofar as it seeks an admission as to

                   25    multiple datasets used to train Llama Models. Meta further objects on the ground that the term

                   26    “content of books they authored” is vague, ambiguous, indefinite, undefined, and overbroad in that
                   27    it is untethered to the allegedly copyright registered works at issue in this Action. Meta further

                   28    objects to this Request on the ground that information about who authored the books at issue in this
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ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    case is outside of Meta’s possession, custody, or control. Even reviewing the copyright registration

                    2    or copyright notice in a book would not tell Meta who “authored” all or any part of the book,

                    3    because the information may be inaccurate. In this case, authorship is a disputed issue as to at least

                    4    one at-issue work. Moreover, even where a person is identified as the “author” of a book in a

                    5    copyright notice or registration, that authorship may not extend to all text in the book (by way of

                    6    example, content contributed by another author, or previously published or registered works

                    7    appearing in a collection or anthology, such as a collection of short stories, would not be authored

                    8    by the copyright holder and are not covered by any copyright in the book, whether registered or

                    9    not). For purposes of its response below, Meta construes the term “books they authored” as used

                   10    in this Request to refer to the at-issue books Plaintiffs claim in this case to have authored, without

                   11    admitting that any Plaintiff was, in fact, the author or owns a valid copyright in the book, and

                   12    without admitting what any copyright in the book may cover. Meta objects to this Request to the

                   13    extent it improperly suggests that Meta participated in the selection of the content of books or other

                   14    content to be included in the datasets used to train the Llama Models or that Meta was required to

                   15    compensate Plaintiffs to train the Llama Models on any unspecified content of books Plaintiffs

                   16    authored.

                   17           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   18    admits that it did not compensate Plaintiffs for the inclusion of the content of books they

                   19    purportedly authored in the Datasets used to train Llama Models, to the extent those Datasets

                   20    included the content of books they purportedly authored. Except as expressly admitted, Meta
                   21    denies the Request.

                   22    REQUEST FOR ADMISSION NO. 10:

                   23           Admit that You have made Llama 1 available for use by Third Parties.

                   24    RESPONSE TO REQUEST FOR ADMISSION NO. 10:

                   25           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   26    own definitions stated therein, which are applicable to this Request.
                   27           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   28    admits that it has made Llama 1 available for use by Third Parties under certain circumstances and
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ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
                                                                    10                             PLTF’S FIRST SET OF RFA’S
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                    1    subject to certain terms and restrictions. Except as expressly admitted, Meta denies the Request.

                    2    REQUEST FOR ADMISSION NO. 11:

                    3           Admit that You have made Llama 2 available for use by Third Parties.

                    4    RESPONSE TO REQUEST FOR ADMISSION NO. 11:

                    5           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    6    own definitions stated therein, which are applicable to this Request.

                    7           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    8    admits that it has made Llama 2 available for use by Third Parties under certain circumstances and

                    9    subject to certain terms and restrictions. Except as expressly admitted, Meta denies the Request.

                   10    REQUEST FOR ADMISSION NO. 12:

                   11           Admit that You have made Llama 3 available for use by Third Parties.

                   12    RESPONSE TO REQUEST FOR ADMISSION NO. 12:

                   13           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   14    own definitions stated therein, which are applicable to this Request.

                   15           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   16    admits that it has made Llama 3 available for use by Third Parties under certain circumstances and

                   17    subject to certain terms and restrictions. Except as expressly admitted, Meta denies the Request.

                   18    REQUEST FOR ADMISSION NO. 13:

                   19           Admit that you intend to make Llama 4 available for use by Third Parties.

                   20    RESPONSE TO REQUEST FOR ADMISSION NO. 13:
                   21           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   22    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   23    as purely speculative and not relevant to the claims or defenses of any party insofar as Meta has not

                   24    yet released Llama 4.

                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   26    admits that it currently intends to make Llama 4 available for use by Third Parties at some point in
                   27    the future under certain circumstances and subject to certain terms and restrictions. Except as

                   28    expressly admitted, Meta denies the Request.
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                    11                            PLTF’S FIRST SET OF RFA’S
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                    1    REQUEST FOR ADMISSION NO. 14:

                    2           Admit that You have generated revenue from making one or more Llama Models available

                    3    for use by Third Parties.

                    4    *CONFIDENTIAL* RESPONSE TO REQUEST FOR ADMISSION NO. 14:

                    5           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    6    own definitions stated therein, which are applicable to this Request. Meta further objects to the

                    7    capitalized term “Third Parties,” which is ambiguous and undefined. Meta construes this term to

                    8    refer to persons who are not named parties to this Action. Meta further objects to this Request on

                    9    the ground that the terms “generated revenue” and “from making one or more Llama Models

                   10    available for use by Third Parties” are vague, ambiguous, and undefined. Meta further objects on

                   11    the ground that this Request is compound.

                   12           Subject to and without waiving the foregoing objections, Meta responds as follows:

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                   15    REQUEST FOR ADMISSION NO. 15:

                   16           Admit that You have not disclosed all Datasets used to train Llama Models in response to

                   17    discovery in this case.

                   18    *CONFIDENTIAL* AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 15:

                   19           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   20    own definitions stated therein, which are applicable to this Request, including, in particular
                   21    Objection No. 4. Meta objects to this Request as improperly seeking discovery on discovery. Meta

                   22    further objects to this Request to the extent it seeks information that is not relevant to the claims or

                   23    defenses of any party.

                   24           Subject to and without waiving the foregoing objections, Meta responds as follows:

                   25

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                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
                                                                     12                             PLTF’S FIRST SET OF RFA’S
                                                                                                            3:23-CV-03417-VC
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                    2    REQUEST FOR ADMISSION NO. 16:

                    3            Admit that You used the Books3 database as a Dataset to train one or more Llama Models.

                    4    RESPONSE TO REQUEST FOR ADMISSION NO. 16:

                    5            Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    6    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                    7    “Books3 database” as vague and ambiguous. Meta will construe “Books3 database” to mean the

                    8    third-party dataset commonly known as Books3. Meta further objects to this Request as compound.

                    9            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   10    admits that it has used a portion of the third-party dataset commonly known as Books3 as training

                   11    data to train one or more Llama Models. Except as expressly admitted, Meta denies this Request.

                   12    REQUEST FOR ADMISSION NO. 17:

                   13            Admit that the Books3 database contains copyrighted works.

                   14    RESPONSE TO REQUEST FOR ADMISSION NO. 17:

                   15            Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   16    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   17    “Books3 database” as vague and ambiguous. Meta will construe “Books3 database” to mean the

                   18    third-party dataset commonly known as Books3. Meta objects to this Request to the extent that it

                   19    calls for a legal conclusion as to “copyrighted works,” and on the ground that it does not specify

                   20    any copyrighted works or otherwise define this term.
                   21            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   22    admits that text from a published and commercially-available version of one or more copyrighted

                   23    works appears in the third-party dataset commonly known as Books3. Except as expressly

                   24    admitted, Meta lacks information sufficient to form a belief as to the truth of this request, and on

                   25    that basis denies it.

                   26    REQUEST FOR ADMISSION NO. 18:
                   27            Admit that Your use of the Books3 database as a Dataset for training Llama Models was

                   28    not authorized by all copyright owners of the works contained within the Books3 database.
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                    13                            PLTF’S FIRST SET OF RFA’S
                                                                                                          3:23-CV-03417-VC
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                    1    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 18:

                    2           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    3    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                    4    “Books3 database” as vague and ambiguous. Meta will construe “Books3 database” to mean the

                    5    third-party dataset commonly known as Books3. Meta objects to this Request to the extent that it

                    6    calls for a legal conclusion. Meta further objects on the ground that the term “copyright owners”

                    7    is vague, ambiguous, indefinite, undefined, and overbroad in that it is untethered to the allegedly

                    8    copyright registered works at issue in this Action. Meta further objects to this Request on the

                    9    ground that information about who the “copyright owner” is for any allegedly copyrighted book or

                   10    its contents is outside of Meta’s possession, custody, or control. Even reviewing the copyright

                   11    registration or copyright notice in a book would not tell Meta who the “copyright owner” is of any

                   12    book, because, e.g., all or some of the exclusive rights of copyright could have been assigned, could

                   13    be invalid, could have been contributed to the public domain, or could have been registered through

                   14    error or fraud in the name of a person other than the author/true copyright owner. Moreover, even

                   15    where an author owns the copyright to a book, that copyright may not cover all text in the book (by

                   16    way of example, content contributed by another author, or previously published or registered works

                   17    appearing in a collection or anthology, such as a collection of short stories, are not covered by any

                   18    copyright in the book, whether registered or not). Meta construes the term “copyright owner” as

                   19    used in this Request to refer to the person identified in the book as the copyright owner, without

                   20    admitting that such person in fact owns a valid copyright in the book or what it covers. Meta further
                   21    objects to this Request as overly burdensome and disproportionate to the needs of the case insofar

                   22    as it would require Meta to attempt to ascertain the “copyright owner” of “all copyrighted books”

                   23    in the Books3 database, a database Meta did not create and which Plaintiffs assert comprises

                   24    thousands of books. Meta objects to this Request to the extent it improperly suggests that Meta

                   25    participated in the selection of content to be included in the third-party Books3 dataset or that

                   26    Meta’s use of the Books3 dataset for training the Llama Models required authorization from the
                   27    owners of the copyrights in the works contained within that dataset.

                   28           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                    14                            PLTF’S FIRST SET OF RFA’S
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                    1    admits that it did not seek or obtain authorization from all copyright owners (as construed above)

                    2    of works included within the third-party dataset commonly known as Books3 to use that dataset for

                    3    training Llama Models. Except as expressly admitted, Meta denies this Request.

                    4    REQUEST FOR ADMISSION NO. 19:

                    5           Admit that You used the “Library Genesis” database as a Dataset to train one or more Llama

                    6    Models.

                    7    *CONFIDENTIAL* RESPONSE TO REQUEST FOR ADMISSION NO. 19:

                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    9    own definitions stated therein, which are applicable to this Request. Meta further objects to this

                   10    Request as compound.

                   11           Subject to and without waiving the foregoing objections, Meta responds as follows:

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                   15    REQUEST FOR ADMISSION NO. 20:

                   16           Admit that the “Library Genesis” database contains copyrighted works.

                   17    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 20:

                   18           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   19    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   20    to the extent that it calls for a legal conclusion as to “copyrighted works,” and on the ground that it
                   21    does not specify any copyrighted works or otherwise define this term.

                   22           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   23    admits that text from a published and commercially-available version of one or more copyrighted

                   24    works appears in the third-party “Library Genesis” database. . Except as expressly admitted, Meta

                   25    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   26    it.
                   27    REQUEST FOR ADMISSION NO. 21:

                   28           Admit that Your use of the “Library Genesis” database as a Dataset for training Llama
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
                                                                     15                             PLTF’S FIRST SET OF RFA’S
                                                                                                            3:23-CV-03417-VC
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                    1    Models was not authorized by all copyright owners of the works contained within the “Library

                    2    Genesis” database.

                    3    *CONFIDENTIAL* AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 21:

                    4           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    5    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                    6    to the extent that it calls for a legal conclusion. Meta further objects on the ground that the term

                    7    “copyright owners” is vague, ambiguous, indefinite, undefined, and overbroad in that it is

                    8    untethered to the allegedly copyright registered works at issue in this Action. Meta further objects

                    9    to this Request on the ground that information about who the “copyright owner” is for any allegedly

                   10    copyrighted book or its contents is outside of Meta’s possession, custody, or control. Even

                   11    reviewing the copyright registration or copyright notice in a book would not tell Meta who the

                   12    “copyright owner” is of any book, because, e.g., all or some of the exclusive rights of copyright

                   13    could have been assigned, could be invalid, could have been contributed to the public domain, or

                   14    could have been registered through error or fraud in the name of a person other than the author/true

                   15    copyright owner. Moreover, even where an author owns the copyright to a book, that copyright

                   16    may not cover all text in the book (by way of example, content contributed by another author, or

                   17    previously published or registered works appearing in a collection or anthology, such as a collection

                   18    of short stories, are not covered by any copyright in the book, whether registered or not). Meta

                   19    construes the term “copyright owner” as used in this Request to refer to the person identified in the

                   20    book as the copyright owner, without admitting that such person in fact owns a valid copyright in
                   21    the book or what it covers. Meta further objects to this Request as overly burdensome and

                   22    disproportionate to the needs of the case insofar as it would require Meta to attempt to ascertain the

                   23    “copyright owner” of “all copyrighted books” in the “Library Genesis” database, a database Meta

                   24    did not create and which Plaintiffs assert comprises thousands of books. Meta objects to this

                   25    Request to the extent it suggests that Meta’s use of data from the third-party “Library Genesis”

                   26    database for training the Llama Models required authorization from the owners of the copyrights
                   27    in the works contained within that database.

                   28           Subject to and without waiving the foregoing objections, Meta responds as follows:
COOLEY LLP
ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
                                                                    16                             PLTF’S FIRST SET OF RFA’S
                                                                                                           3:23-CV-03417-VC
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                    4    REQUEST FOR ADMISSION NO. 22:

                    5           Admit that You used the database known as “The Pile” as a Dataset to train one or more

                    6    Llama Models.

                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 22:

                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    9    own definitions stated therein, which are applicable to this Request. Meta objects to the term “‘The

                   10    Pile’ database” as vague and ambiguous. Meta will construe “‘The Pile’ database” to mean the

                   11    third-party dataset commonly known as The Pile.         Meta further objects to this Request as

                   12    compound.

                   13           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   14    admits that it has used some content included in the third-party dataset commonly known as The

                   15    Pile as training data to train one or more Llama Models. Except as expressly admitted, Meta denies

                   16    this Request.

                   17    REQUEST FOR ADMISSION NO. 23:

                   18           Admit that the database known as “The Pile” contains copyrighted works.

                   19    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 23:

                   20           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   21    own definitions stated therein, which are applicable to this Request. Meta objects to the term “‘The

                   22    Pile’ database” as vague and ambiguous. Meta will construe “‘The Pile’ database” to mean the

                   23    third-party dataset commonly known as The Pile. Meta objects to this Request to the extent that it

                   24    calls for a legal conclusion as to “copyrighted works,” and on the ground that it does not specify

                   25    any copyrighted works or otherwise define this term.

                   26           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
                   27    admits that text from a published and commercially-available version of one or more copyrighted

                   28    works appears in the third-party dataset commonly known as The Pile. Except as expressly
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                   17                             PLTF’S FIRST SET OF RFA’S
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                    1    admitted, Meta lacks information sufficient to form a belief as to the truth of this request, and on

                    2    that basis denies it.

                    3    REQUEST FOR ADMISSION NO. 24:

                    4            Admit that Your use of the database known as “The Pile” as a Dataset for training Llama

                    5    Models was not authorized by all copyright owners of the works contained within the “The Pile”

                    6    database.

                    7    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 24:

                    8            Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    9    own definitions stated therein, which are applicable to this Request. Meta objects to the term “‘The

                   10    Pile’ database” as vague and ambiguous. Meta will construe “‘The Pile’ database” to mean the

                   11    third-party dataset commonly known as The Pile. Meta objects to this Request to the extent that it

                   12    calls for a legal conclusion. Meta further objects on the ground that the term “copyright owners”

                   13    is vague, ambiguous, indefinite, undefined, and overbroad in that it is untethered to the allegedly

                   14    copyright registered works at issue in this Action. Meta further objects to this Request on the

                   15    ground that information about who the “copyright owner” is for any allegedly copyrighted book or

                   16    its contents is outside of Meta’s possession, custody, or control. Even reviewing the copyright

                   17    registration or copyright notice in a book would not tell Meta who the “copyright owner” is of any

                   18    book, because, e.g., all or some of the exclusive rights of copyright could have been assigned, could

                   19    be invalid, could have been contributed to the public domain, or could have been registered through

                   20    error or fraud in the name of a person other than the author/true copyright owner. Moreover, even
                   21    where an author owns the copyright to a book, that copyright may not cover all text in the book (by

                   22    way of example, content contributed by another author, or previously published or registered works

                   23    appearing in a collection or anthology, such as a collection of short stories, are not covered by any

                   24    copyright in the book, whether registered or not). Meta construes the term “copyright owner” as

                   25    used in this Request to refer to the person identified in the book as the copyright owner, without

                   26    admitting that such person in fact owns a valid copyright in the book or what it covers. Meta further
                   27    objects to this Request as overly burdensome and disproportionate to the needs of the case insofar

                   28    as it would require Meta to attempt to ascertain the “copyright owner” of “all copyrighted books”
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                    18                            PLTF’S FIRST SET OF RFA’S
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                    1    in the “The Pile,” a database Meta did not create and which Plaintiffs assert comprises thousands

                    2    of books. Meta objects to this Request to the extent it improperly suggests that Meta participated

                    3    in the selection of content to be included in the third-party dataset commonly known as The Pile or

                    4    that Meta’s use of The Pile for training the Llama Models required authorization from the owners

                    5    of the copyrights in the works contained within that dataset.

                    6           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    7    admits that it did not seek or obtain authorization from all copyright owners (as construed above)

                    8    of any works included within the third-party The Pile dataset to use that dataset for training Llama

                    9    Models. Except as expressly admitted, Meta denies this Request.

                   10    REQUEST FOR ADMISSION NO. 25:

                   11           Admit that You have contacted one or more Person(s) to negotiate licensing of material for

                   12    the purpose of training a Llama Model.

                   13    RESPONSE TO REQUEST FOR ADMISSION NO. 25:

                   14           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   15    own definitions stated therein, which are applicable to this Request. Meta objects to the terms

                   16    “material” and “licensing” as vague, ambiguous, and indefinite.

                   17           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   18    admits that it has contacted one or more Persons to discuss an agreement for access to and use of

                   19    certain data as training material. Except as expressly admitted, Meta denies this Request.

                   20    REQUEST FOR ADMISSION NO. 26:
                   21           Admit that You have contacted one or more copyright owners to negotiate licensing of their

                   22    copyrighted material for the purpose of training a Llama Model.

                   23    RESPONSE TO REQUEST FOR ADMISSION NO. 26:

                   24           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   25    own definitions stated therein, which are applicable to this Request. Meta objects to the terms

                   26    “copyright owners,” “copyrighted material,” and “licensing” as vague, ambiguous, indefinite, and
                   27    calling for a legal conclusion.

                   28           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                    19                            PLTF’S FIRST SET OF RFA’S
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                    1    admits that it has contacted one or more Persons to discuss an agreement for access to and use of

                    2    certain data that may include copyrighted material as training material. Except as expressly

                    3    admitted, Meta denies this Request.

                    4    REQUEST FOR ADMISSION NO. 27:

                    5           Admit that each Llama Model can generate text outputs similar to copyrighted works in

                    6    Datasets used to train each Llama Model.

                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 27:

                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    9    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   10    insofar as it seeks information that is not relevant to any party’s claims or defenses, in particular

                   11    the substance of the outputs of the Llama Models. Meta objects to this Request as compound as it

                   12    purports to seek an admission as to multiple Llama Models. Meta objects to this Request on the

                   13    grounds that the terms “copyrighted works” and “similar to copyrighted works” are vague,

                   14    ambiguous, undefined, indefinite, and call for a legal conclusion. Meta objects to this Request as

                   15    speculative insofar as it seeks an admission as to whether the Llama Models “can” generate certain

                   16    text outputs, regardless of whether they actually do generate those text outputs. Meta objects to the

                   17    phrase “each Llama Model can generate” as vague and ambiguous. Meta will construe “each Llama

                   18    Model can generate” to refer to the capabilities of the final, released versions of Llama 1, Llama 2,

                   19    and Llama 3, as construed above. Meta further objects to this Request on the ground that it

                   20    constitutes an incomplete hypothetical and calls for speculation.
                   21           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.

                   22    REQUEST FOR ADMISSION NO. 28:

                   23           Admit that You issued a DMCA takedown notice to a Person who made a leaked version

                   24    of Llama 1 available for download to third parties.

                   25    RESPONSE TO REQUEST FOR ADMISSION NO. 28:

                   26           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   27    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   28    insofar as it seeks information that is not relevant to any party’s claims or defenses. Meta objects
COOLEY LLP
ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
                                                                    20                             PLTF’S FIRST SET OF RFA’S
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                    1    to the term “leaked version” as vague, ambiguous, and undefined. Meta construes the term “third

                    2    parties” synonymously with the defined term Third Parties.

                    3           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    4    admits that it issued a DMCA takedown notice to a Person who made the Llama 1 weights available

                    5    for download to Third Parties other than those Persons authorized to use Llama 1. Except as

                    6    expressly admitted, Meta denies this Request.

                    7    REQUEST FOR ADMISSION NO. 29:

                    8           Admit that You received more than 100,000 applications for access to Llama 1.

                    9    RESPONSE TO REQUEST FOR ADMISSION NO. 29:

                   10           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   11    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   12    “applications” as vague and ambiguous.

                   13           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   14    admits that it received more than 100,000 requests to provide access to Llama 1. Except as

                   15    expressly admitted, Meta denies this Request.

                   16    REQUEST FOR ADMISSION NO. 30:

                   17           Admit that You granted access to Llama 1 to tens of thousands of third-party users.

                   18    RESPONSE TO REQUEST FOR ADMISSION NO. 30:

                   19           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   20    own definitions stated therein, which are applicable to this Request. Meta construes “third parties”
                   21    in this Request synonymously with the defined term Third Parties.

                   22           Subject to and without waiving the foregoing objections, Meta responds as follows: Admit.

                   23    REQUEST FOR ADMISSION NO. 31:

                   24           Admit that You granted access to Llama 2 to tens of thousands of third-party users.

                   25    RESPONSE TO REQUEST FOR ADMISSION NO. 31:

                   26           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   27    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   28    “granted access” as vague and ambiguous in the context of Llama 2, which is freely available. Meta
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                   21                             PLTF’S FIRST SET OF RFA’S
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                    1    construes “third parties” in this Request synonymously with the defined term Third Parties.

                    2             Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    3    admits that Llama 2 is freely available to at least tens of thousands of third-party users. Except as

                    4    expressly admitted, Meta denies this Request.

                    5    REQUEST FOR ADMISSION NO. 32:

                    6             Admit that You granted access to Llama 3 to tens of thousands of third-party users.

                    7    RESPONSE TO REQUEST FOR ADMISSION NO. 32:

                    8             Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    9    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   10    “granted access” as vague and ambiguous in the context of Llama 3, which is freely available. Meta

                   11    construes “third parties” in this Request synonymously with the defined term Third Parties.

                   12             Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   13    admits that Llama 3 is freely available to at least tens of thousands of third-party users. Except as

                   14    expressly admitted, Meta denies this Request.

                   15    REQUEST FOR ADMISSION NO. 33:

                   16             Admit that one or more Llama Models were trained using publicly available data.

                   17    RESPONSE TO REQUEST FOR ADMISSION NO. 33:

                   18             Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   19    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   20    “publicly available data” as vague and ambiguous, and will construe the term to mean data that is
                   21    accessible for free to the general public. Meta further objects to this Request as compound.

                   22             Subject to and without waiving the foregoing objections, Meta responds as follows: Admit.

                   23    REQUEST FOR ADMISSION NO. 34:

                   24             Admit that the publicly available data used to train the Llama Models included copyrighted

                   25    works.

                   26    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 34:
                   27             Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   28    own definitions stated therein, which are applicable to this Request. Meta objects to the term
COOLEY LLP
ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
                                                                     22                            PLTF’S FIRST SET OF RFA’S
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                    1    “publicly available data” as vague and ambiguous, and will construe the term to mean data that is

                    2    accessible for free to the general public. Meta objects to this Request to the extent that it calls for

                    3    a legal conclusion as to “copyrighted works,” and on the ground that it does not specify any

                    4    copyrighted works or otherwise define this term. Meta further objects to this Request as compound.

                    5           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    6    admits that the publicly available data used to train the Llama Models included text from a

                    7    published and commercially-available version of one or more copyrighted works.

                    8    REQUEST FOR ADMISSION NO. 35:

                    9           Admit that Meta has not provided to Plaintiffs a list of works used in the Datasets used to

                   10    train Llama Models.

                   11    RESPONSE TO REQUEST FOR ADMISSION NO. 35:

                   12           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   13    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   14    “works” as vague, ambiguous, and indefinite. Meta objects to this Request as it improperly seeking

                   15    discovery on discovery.

                   16           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.

                   17    Meta has produced a list of the content of the third-party Books3 dataset (Meta_Kadrey_00000250),

                   18    which is alleged to include text from each of Plaintiffs’ books that are at issue in the Complaint.

                   19    Meta is not aware or in possession of any list(s) of the content of any other Datasets used to train

                   20    the Llama Models, and any such list(s) would not be relevant to the Parties’ claims or defenses nor
                   21    proportional to the needs of this case. Except as expressly admitted, Meta denies this Request.

                   22    REQUEST FOR ADMISSION NO. 36:

                   23           Admit that the toxicity mitigation measures in Llama 2 were identical to those present in

                   24    Llama 1.

                   25    RESPONSE TO REQUEST FOR ADMISSION NO. 36:

                   26           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   27    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   28    “toxicity mitigation measures” as vague, ambiguous, and undefined. Meta will construe this term
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    to refer to measures taken or implemented to avoid generating toxic content as outputs.

                    2           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.

                    3    REQUEST FOR ADMISSION NO. 37:

                    4           Admit that the toxicity mitigation measures in Llama 3 were identical to those present in

                    5    Llama 2.

                    6    RESPONSE TO REQUEST FOR ADMISSION NO. 37:

                    7           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    8    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                    9    “toxicity mitigation measures” as vague, ambiguous, and undefined. Meta will construe this term

                   10    to refer to measures taken or implemented to avoid generating toxic content as outputs.

                   11           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.

                   12    REQUEST FOR ADMISSION NO. 38:

                   13           Admit that You store copyrighted material for training Llama Models.

                   14    RESPONSE TO REQUEST FOR ADMISSION NO. 38:

                   15           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   16    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   17    to the extent that it calls for a legal conclusion. Meta objects to this Request on the grounds that

                   18    the term “copyrighted material” is vague, ambiguous, undefined, indefinite, and calls for a legal

                   19    conclusion. Meta objects to the term “store copyrighted material for training Llama Models” as

                   20    vague and ambiguous. Meta also objects on the ground that this Request is overbroad and seeks
                   21    information that is not relevant to any party’s claims or defenses. Meta objects to this Request as

                   22    compound.

                   23           Subject to and without waiving the foregoing objections, Meta responds as follows: As

                   24    written, Meta is unable to respond to this Request and on that basis denies the Request. Meta is

                   25    willing to meet and confer to understand how to interpret this Request.

                   26    REQUEST FOR ADMISSION NO. 39:
                   27           Admit that You have not deleted all copyrighted material in Your possession after it is used

                   28    for training Llama Models.
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                   24                             PLTF’S FIRST SET OF RFA’S
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 39:

                    2           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    3    own definitions stated therein, which are applicable to this Request. . Meta objects to this Request

                    4    on the grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite,

                    5    and calls for a legal conclusion. Meta objects to this Request to the extent it suggests that Meta

                    6    was required to delete copyrighted material used for training LLMs after the material was used to

                    7    train its Llama Models. Meta also objects on the ground that this Request is overbroad and seeks

                    8    information that is not relevant to any party’s claims or defenses. Meta objects to this Request as

                    9    compound.

                   10           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   11    admits that it has not deleted all training data used to train its Llama Models in its possession after

                   12    that training data was used to train its Llama Models, including, in part, to comply with its

                   13    obligations to preserve relevant documents and materials in connection with this Action. Except

                   14    as expressly admitted, Meta denies this Request.

                   15    REQUEST FOR ADMISSION NO. 40:

                   16           Admit that you reproduced copyrighted material in the training of Llama models.

                   17    RESPONSE TO REQUEST FOR ADMISSION NO. 40:

                   18           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   19    own definitions stated therein, which are applicable to this Request. Meta objects to the term

                   20    “Llama models” as vague and ambiguous to the extent its meaning is intended to be different from
                   21    the defined term “Llama Models.” Meta will construe “Llama models” as the defined term “Llama

                   22    Models” as limited and construed above. Meta objects to this Request on the grounds that the terms

                   23    “copyrighted material” and “reproduced” are vague, ambiguous, undefined, indefinite, and call for

                   24    a legal conclusion. Meta objects to this Request to the extent it calls for a legal conclusion. Meta

                   25    objects to this Request as compound.

                   26           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.
                   27    REQUEST FOR ADMISSION NO. 41:

                   28           Admit that the Llama Models are capable of reproducing copyrighted material.
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    RESPONSE TO REQUEST FOR ADMISSION NO. 41:

                    2           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    3    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                    4    insofar as it seeks information that is not relevant to any party’s claims or defenses, in particular

                    5    the substance of the outputs of the Llama Models. Meta objects to this Request as compound as it

                    6    purports to seek an admission as to multiple Llama Models. Meta objects to this Request on the

                    7    grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite, and calls

                    8    for a legal conclusion. Meta objects to this Request as speculative insofar as it seeks an admission

                    9    as to whether the Llama Models “are capable of” reproducing certain material, regardless of

                   10    whether they actually do reproduce such material. Meta objects to the phrase “the Llama Models

                   11    are capable of reproducing” as vague and ambiguous. Meta will construe “the Llama Models are

                   12    capable of reproducing” to refer to the capabilities of the final, released versions of Llama 1, Llama

                   13    2, and Llama 3, as construed above. Meta further objects to this Request on the ground that it

                   14    constitutes an incomplete hypothetical and calls for speculation.

                   15           Subject to and without waiving the foregoing objections, Meta responds as follows: Deny.

                   16    REQUEST FOR ADMISSION NO. 42:

                   17           Admit that the Llama Models are programmed, trained, or filtered to avoid reproducing

                   18    copyrighted material.

                   19    RESPONSE TO REQUEST FOR ADMISSION NO. 42:

                   20           Meta incorporates by reference its Objections to Instructions and Definitions, including its
                   21    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   22    insofar as it seeks information that is not relevant to any party’s claims or defenses, in particular

                   23    the substance of the outputs of the Llama Models. Meta objects to this Request as compound as it

                   24    purports to seek an admission as to multiple Llama Models. Meta objects to this Request on the

                   25    grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite, and calls

                   26    for a legal conclusion.
                   27           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   28    admits that it implemented certain risk mitigation measures in the process of developing the Llama
COOLEY LLP
ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
                                                                    26                             PLTF’S FIRST SET OF RFA’S
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                    1    Models to minimize the likelihood that the models would generate undesirable outputs, including

                    2    outputs that may reproduce portions of any copyrighted materials. Except as expressly admitted,

                    3    Meta denies this Request.

                    4    REQUEST FOR ADMISSION NO. 43:

                    5           Admit that the Llama Models that were trained with copyrighted material had at least in

                    6    part a commercial purpose.

                    7    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 43:

                    8           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                    9    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   10    on the grounds that the term “copyrighted material” is vague, ambiguous, undefined, indefinite,

                   11    and calls for a legal conclusion. Meta objects to the Request as compound.

                   12           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   13    admits that Llama 2 and Llama 3 models were made available to the open source community

                   14    pursuant to a license that allowed developers to use the models for commercial uses pursuant to

                   15    certain terms and conditions. Meta also admits that the data used to train the Llama Models

                   16    included text from a published and commercially-available version of one or more copyrighted

                   17    works. Except as expressly admitted, Meta denies this Request.

                   18    REQUEST FOR ADMISSION NO. 44:

                   19           Admit that if copyright holders or other content creators demanded that You not use their

                   20    content to train Your LLM models, then You would not use their content to train Your LLM models.
                   21    RESPONSE TO REQUEST FOR ADMISSION NO. 44:

                   22           Meta incorporates by reference its Objections to Instructions and Definitions, including its

                   23    own definitions stated therein, which are applicable to this Request. Meta objects to this Request

                   24    on the ground that it constitutes an incomplete hypothetical and as purely speculative.

                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: As

                   26    written, Meta is unable to respond to this Request and on that basis denies the Request. Meta is
                   27    willing to meet and confer to understand how to interpret this Request.

                   28    REQUEST FOR ADMISSION NO. 45:
COOLEY LLP
ATTORNEYS AT LAW                                                                           META’S AMENDED OBJ & RESPS TO
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                    1           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work Aloha from Hell.

                    2    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 45:

                    3           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    4    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    5    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    6    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    7    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    8    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    9    particular book, and would require Meta to conduct an analysis of a third party database that is

                   10    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   11    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   12    work—information that is outside of Meta’s possession, custody, or control.

                   13           Meta admits that some text from a published and commercially-available version of Aloha

                   14    from Hell is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   15    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   16    REQUEST FOR ADMISSION NO. 46:

                   17           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work The Everything

                   18    Box.

                   19    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 46:

                   20           Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   21    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   22    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   23    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   24    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   25    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   26    particular book, and would require Meta to conduct an analysis of a third party database that is
                   27    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   28    Request to the extent that it presumes that the referenced author in fact authored the referenced
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    work—information that is outside of Meta’s possession, custody, or control.

                    2             Meta admits that some text from a published and commercially-available version of The

                    3    Everything Box is included in the third party Books3 dataset. Except as expressly admitted, Meta

                    4    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                    5    it..

                    6    REQUEST FOR ADMISSION NO. 47:

                    7             Admit that the Books3 database contains Plaintiff Richard Kadrey’s work Kill the Dead.

                    8    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 47:

                    9             Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   10    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   11    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   12    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   13    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   14    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   15    particular book, and would require Meta to conduct an analysis of a third party database that is

                   16    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   17    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   18    work—information that is outside of Meta’s possession, custody, or control.

                   19             Meta admits that some text from a published and commercially-available version of Kill the

                   20    Dead is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks
                   21    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   22    REQUEST FOR ADMISSION NO. 48:

                   23             Admit that the Books3 database contains Plaintiff Richard Kadrey’s work The Perdition

                   24    Score.

                   25    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 48:

                   26             Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   27    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   28    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    2    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    3    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    4    particular book, and would require Meta to conduct an analysis of a third party database that is

                    5    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    6    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    7    work—information that is outside of Meta’s possession, custody, or control.

                    8           Meta admits that some text from a published and commercially-available version of The

                    9    Perdition Score is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   10    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   11    it.

                   12    REQUEST FOR ADMISSION NO. 49:

                   13           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work Sandman Slim.

                   14    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 49:

                   15           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   16    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   17    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   18    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   19    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   20    burdensome for Meta to determine whether the books3 dataset contains the entirety of any
                   21    particular book, and would require Meta to conduct an analysis of a third party database that is

                   22    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   23    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   24    work—information that is outside of Meta’s possession, custody, or control.

                   25           Meta admits that some text from a published and commercially-available version of

                   26    Sandman Slim is included in the third party Books3 dataset. Except as expressly admitted, Meta
                   27    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   28    it.
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 50:

                    2           Admit that the Books3 database contains Plaintiff Richard Kadrey’s work The Wrong Dead

                    3    Guy.

                    4    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 50:

                    5           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    6    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    7    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    8    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    9    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   10    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   11    particular book, and would require Meta to conduct an analysis of a third party database that is

                   12    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   13    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   14    work—information that is outside of Meta’s possession, custody, or control.

                   15           Meta admits that some text from a published and commercially-available version of The

                   16    Wrong Dead Guy is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   17    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   18    it.

                   19    REQUEST FOR ADMISSION NO. 51:

                   20           Admit that the Books3 database contains Plaintiff Sarah Silverman’s work The Bedwetter.
                   21    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 51:

                   22           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   23    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   24    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   25    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   26    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   27    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   28    particular book, and would require Meta to conduct an analysis of a third party database that is
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    2    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    3    work—information that is outside of Meta’s possession, custody, or control.

                    4            Meta admits that some text from a published and commercially-available version of The

                    5    Bedwetter is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                    6    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                    7    REQUEST FOR ADMISSION NO. 52:

                    8            Admit that the Books3 database contains Plaintiff Christopher Golden’s work Ararat.

                    9    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 52:

                   10            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   11    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   12    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   13    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   14    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   15    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   16    particular book, and would require Meta to conduct an analysis of a third party database that is

                   17    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   18    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   19    work—information that is outside of Meta’s possession, custody, or control.

                   20            Meta admits that some text from a published and commercially-available version of Ararat
                   21    is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks information

                   22    sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   23    REQUEST FOR ADMISSION NO. 53:

                   24            Admit that the Books3 database contains Plaintiff Christopher Golden’s work Dead

                   25    Ringers.

                   26    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 53:
                   27            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   28    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
COOLEY LLP
ATTORNEYS AT LAW                                                                                META’S AMENDED OBJ & RESPS TO
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                    1    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    2    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    3    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    4    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    5    particular book, and would require Meta to conduct an analysis of a third party database that is

                    6    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    7    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    8    work—information that is outside of Meta’s possession, custody, or control.

                    9            Meta admits that some text from a published and commercially-available version of Dead

                   10    Ringers is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   11    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   12    REQUEST FOR ADMISSION NO. 54:

                   13            Admit that the Books3 database contains Plaintiff Christopher Golden’s work The Pandora

                   14    Room.

                   15    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 54:

                   16            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   17    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   18    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   19    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   20    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   21    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   22    particular book, and would require Meta to conduct an analysis of a third party database that is

                   23    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   24    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   25    work—information that is outside of Meta’s possession, custody, or control.

                   26            Meta admits that some text from a published and commercially-available version of The
                   27    Pandora Room is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   28    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    it.

                    2    REQUEST FOR ADMISSION NO. 55:

                    3           Admit that the Books3 database contains Plaintiff Christopher Golden’s work Snowblind.

                    4    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 55:

                    5           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    6    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    7    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    8    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    9    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   10    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   11    particular book, and would require Meta to conduct an analysis of a third party database that is

                   12    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   13    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   14    work—information that is outside of Meta’s possession, custody, or control.

                   15           Meta admits that some text from a published and commercially-available version of

                   16    Snowblind is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   17    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   18    REQUEST FOR ADMISSION NO. 56:

                   19           Admit that the Books3 database contains Plaintiff Ta-Nehisi Coates’s work The Beautiful

                   20    Struggle.
                   21    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 56:

                   22           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   23    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   24    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   25    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   26    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   27    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   28    particular book, and would require Meta to conduct an analysis of a third party database that is
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    2    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    3    work—information that is outside of Meta’s possession, custody, or control.

                    4            Meta admits that some text from a published and commercially-available version of The

                    5    Beautiful Struggle is included in the third party Books3 dataset. Except as expressly admitted,

                    6    Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                    7    denies it.

                    8    REQUEST FOR ADMISSION NO. 57:

                    9            Admit that the Books3 database contains Plaintiff Ta-Nehisi Coates’s work The Water

                   10    Dancer.

                   11    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 57:

                   12            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   13    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   14    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   15    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   16    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   17    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   18    particular book, and would require Meta to conduct an analysis of a third party database that is

                   19    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   20    Request to the extent that it presumes that the referenced author in fact authored the referenced
                   21    work—information that is outside of Meta’s possession, custody, or control.

                   22            Meta admits that some text from a published and commercially-available version of The

                   23    Water Dancer is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   24    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   25    it.

                   26    REQUEST FOR ADMISSION NO. 58:
                   27            Admit that the Books3 database contains Plaintiff Ta-Nehisi Coates’s work We Were Eight

                   28    Years in Power.
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 58:

                    2            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    6    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    7    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    8    particular book, and would require Meta to conduct an analysis of a third party database that is

                    9    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   10    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   11    work—information that is outside of Meta’s possession, custody, or control.

                   12            Meta admits that some text from a published and commercially-available version of We

                   13    Were Eight Years in Power is included in the third party Books3 dataset. Except as expressly

                   14    admitted, Meta lacks information sufficient to form a belief as to the truth of this request, and on

                   15    that basis denies it.

                   16    REQUEST FOR ADMISSION NO. 59:

                   17            Admit that the Books3 database contains Plaintiff Junot Díaz’s work The Brief Wondrous

                   18    Life of Oscar Wao.

                   19    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 59:

                   20            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   21    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   22    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   23    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   24    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   25    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   26    particular book, and would require Meta to conduct an analysis of a third party database that is
                   27    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   28    Request to the extent that it presumes that the referenced author in fact authored the referenced
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
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                    1    work—information that is outside of Meta’s possession, custody, or control.

                    2            Meta admits that some text from a published and commercially-available version of The

                    3    Brief Wondrous Life of Oscar Wao is included in the third party Books3 dataset. Except as

                    4    expressly admitted, Meta lacks information sufficient to form a belief as to the truth of this request,

                    5    and on that basis denies it.

                    6    REQUEST FOR ADMISSION NO. 60:

                    7            Admit that the Books3 database contains Plaintiff Junot Díaz’s work Drown.

                    8    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 60:

                    9            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   10    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   11    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   12    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   13    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   14    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   15    particular book, and would require Meta to conduct an analysis of a third party database that is

                   16    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   17    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   18    work—information that is outside of Meta’s possession, custody, or control.

                   19            Meta admits that some text from a published and commercially-available version of Drown

                   20    is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks information
                   21    sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   22    REQUEST FOR ADMISSION NO. 61:

                   23            Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work The

                   24    Confessions of Max Tivoli.

                   25    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 61:

                   26            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   27    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   28    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
COOLEY LLP
ATTORNEYS AT LAW                                                                                META’S AMENDED OBJ & RESPS TO
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                    1    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    2    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    3    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    4    particular book, and would require Meta to conduct an analysis of a third party database that is

                    5    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    6    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    7    work—information that is outside of Meta’s possession, custody, or control.

                    8            Meta admits that some text from a published and commercially-available version of The

                    9    Confessions of Max Tivoli is included in the third party Books3 dataset. Except as expressly

                   10    admitted, Meta lacks information sufficient to form a belief as to the truth of this request, and on

                   11    that basis denies it.

                   12    REQUEST FOR ADMISSION NO. 62:

                   13            Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work How It Was

                   14    For Me.

                   15    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 62:

                   16            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   17    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   18    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   19    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   20    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   21    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   22    particular book, and would require Meta to conduct an analysis of a third party database that is

                   23    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   24    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   25    work—information that is outside of Meta’s possession, custody, or control.

                   26            Meta admits that some text from a published and commercially-available version of How It
                   27    Was For Me is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   28    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S AMENDED OBJ & RESPS TO
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                    1    it.

                    2    REQUEST FOR ADMISSION NO. 63:

                    3            Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work Less.

                    4    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 63:

                    5            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    6    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    7    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    8    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    9    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   10    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   11    particular book, and would require Meta to conduct an analysis of a third party database that is

                   12    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   13    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   14    work—information that is outside of Meta’s possession, custody, or control.

                   15            Meta admits that some text from a published and commercially-available version of Less is

                   16    included in the third party Books3 dataset. Except as expressly admitted, Meta lacks information

                   17    sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   18    REQUEST FOR ADMISSION NO. 64:

                   19            Admit that the Books3 database contains Plaintiff Andrew Sean Greer’s work The Path of

                   20    Minor Planets.
                   21    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 64:

                   22            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   23    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   24    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   25    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   26    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   27    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   28    particular book, and would require Meta to conduct an analysis of a third party database that is
COOLEY LLP
ATTORNEYS AT LAW                                                                                META’S AMENDED OBJ & RESPS TO
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                    1    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    2    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    3    work—information that is outside of Meta’s possession, custody, or control.

                    4             Meta admits that some text from a published and commercially-available version of The

                    5    Path of Minor Planets is included in the third party Books3 dataset. Except as expressly admitted,

                    6    Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                    7    denies it.

                    8

                    9    REQUEST FOR ADMISSION NO. 65:

                   10             Admit that the Books3 database contains Plaintiff David Henry Hwang’s work Golden

                   11    Child.

                   12    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 65:

                   13             Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   14    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   15    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   16    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   17    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   18    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   19    particular book, and would require Meta to conduct an analysis of a third party database that is

                   20    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this
                   21    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   22    work—information that is outside of Meta’s possession, custody, or control.

                   23             Meta admits that some text from a published and commercially-available version of Golden

                   24    Child is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   25    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   26    REQUEST FOR ADMISSION NO. 66:
                   27             Admit that the Books3 database contains Plaintiff David Henry Hwang’s work M. Butterfly.

                   28    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 66:
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    2    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    3    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    4    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    5    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    6    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    7    particular book, and would require Meta to conduct an analysis of a third party database that is

                    8    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    9    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   10    work—information that is outside of Meta’s possession, custody, or control.

                   11           Meta admits that some text from a published and commercially-available version of M.

                   12    Butterfly is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   13    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   14    REQUEST FOR ADMISSION NO. 67:

                   15           Admit that the Books3 database contains Plaintiff David Henry Hwang’s work Trying to

                   16    Find Chinatown.

                   17    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 67:

                   18           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   19    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   20    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   21    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   22    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   23    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   24    particular book, and would require Meta to conduct an analysis of a third party database that is

                   25    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   26    Request to the extent that it presumes that the referenced author in fact authored the referenced
                   27    work—information that is outside of Meta’s possession, custody, or control.

                   28           Meta admits that some text from a published and commercially-available version of Trying
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    to Find Chinatown is included in the third party Books3 dataset. Except as expressly admitted,

                    2    Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                    3    denies it.

                    4    REQUEST FOR ADMISSION NO. 68:

                    5            Admit that the Books3 database contains Plaintiff Matthew Klam’s work Sam the Cat.

                    6    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 68:

                    7            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    8    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    9    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   10    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   11    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   12    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   13    particular book, and would require Meta to conduct an analysis of a third party database that is

                   14    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   15    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   16    work—information that is outside of Meta’s possession, custody, or control.

                   17            Meta admits that some text from a published and commercially-available version of Sam

                   18    the Cat is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   19    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   20    REQUEST FOR ADMISSION NO. 69:
                   21            Admit that the Books3 database contains Plaintiff Matthew Klam’s work Who is Rich?

                   22    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 69:

                   23            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   24    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   25    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   26    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   27    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   28    burdensome for Meta to determine whether the books3 dataset contains the entirety of any
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    particular book, and would require Meta to conduct an analysis of a third party database that is

                    2    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    3    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    4    work—information that is outside of Meta’s possession, custody, or control.

                    5           Meta admits that some text from a published and commercially-available version of Who is

                    6    Rich? is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                    7    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                    8    REQUEST FOR ADMISSION NO. 70:

                    9           Admit that the Books3 database contains Plaintiff Laura Lippman’s work After I’m Gone.

                   10    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 70:

                   11           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   12    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   13    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   14    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   15    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   16    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   17    particular book, and would require Meta to conduct an analysis of a third party database that is

                   18    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   19    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   20    work—information that is outside of Meta’s possession, custody, or control.
                   21           Meta admits that some text from a published and commercially-available version of After

                   22    I’m Gone is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   23    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   24    REQUEST FOR ADMISSION NO. 71:

                   25           Admit that the Books3 database contains Plaintiff Laura Lippman’s work In a Strange City.

                   26    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 71:
                   27           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   28    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    2    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    3    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    4    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    5    particular book, and would require Meta to conduct an analysis of a third party database that is

                    6    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    7    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    8    work—information that is outside of Meta’s possession, custody, or control.

                    9           Meta admits that some text from a published and commercially-available version of In a

                   10    Strange City is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   11    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   12    it.

                   13    REQUEST FOR ADMISSION NO. 72:

                   14           Admit that the Books3 database contains Plaintiff Laura Lippman’s work Lady in the Lake.

                   15    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 72:

                   16           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   17    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   18    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   19    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   20    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   21    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   22    particular book, and would require Meta to conduct an analysis of a third party database that is

                   23    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   24    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   25    work—information that is outside of Meta’s possession, custody, or control.

                   26           Meta admits that some text from a published and commercially-available version of Lady
                   27    in the Lake is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   28    information sufficient to form a belief as to the truth of this request, and on that basis denies it.
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 73:

                    2            Admit that the Books3 database contains Plaintiff Laura Lippman’s work Sunburn.

                    3    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 73:

                    4            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    5    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    6    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    7    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    8    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    9    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   10    particular book, and would require Meta to conduct an analysis of a third party database that is

                   11    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   12    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   13    work—information that is outside of Meta’s possession, custody, or control.

                   14            Meta admits that some text from a published and commercially-available version of

                   15    Sunburn is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   16    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   17    REQUEST FOR ADMISSION NO. 74:

                   18            Admit that the Books3 database contains Plaintiff Laura Lippman’s work What the Dead

                   19    Know.

                   20    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 74:
                   21            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   22    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   23    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   24    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   25    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   26    burdensome for Meta to determine whether the books3 dataset contains the entirety of any
                   27    particular book, and would require Meta to conduct an analysis of a third party database that is

                   28    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    2    work—information that is outside of Meta’s possession, custody, or control.

                    3           Meta admits that some text from a published and commercially-available version of What

                    4    the Dead Know is included in the third party Books3 dataset. Except as expressly admitted, Meta

                    5    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                    6    it.

                    7    REQUEST FOR ADMISSION NO. 75:

                    8           Admit that the Books3 database contains Plaintiff Laura Lippman’s work Wilde Lake.

                    9    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 75:

                   10           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   11    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   12    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   13    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   14    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   15    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   16    particular book, and would require Meta to conduct an analysis of a third party database that is

                   17    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   18    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   19    work—information that is outside of Meta’s possession, custody, or control.

                   20           Meta admits that some text from a published and commercially-available version of Wilde
                   21    Lake is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   22    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   23    REQUEST FOR ADMISSION NO. 76:

                   24           Admit that the Books3 database contains Plaintiff Rachel Louise Snyder’s work No Visible

                   25    Bruises: What We Don’t Know About Domestic Violence Can Kill Us.

                   26    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 76:
                   27           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   28    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    2    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    3    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    4    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    5    particular book, and would require Meta to conduct an analysis of a third party database that is

                    6    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    7    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    8    work—information that is outside of Meta’s possession, custody, or control.

                    9            Meta admits that some text from a published and commercially-available version of No

                   10    Visible Bruises: What We Don’t Know About Domestic Violence Can Kill Us l is included in the

                   11    third party Books3 dataset. Except as expressly admitted, Meta lacks information sufficient to form

                   12    a belief as to the truth of this request, and on that basis denies it.

                   13    REQUEST FOR ADMISSION NO. 77:

                   14            Admit that the Books3 database contains Plaintiff Lysa TerKeurst’s work Embraced.

                   15    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 77:

                   16            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   17    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   18    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   19    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   20    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
                   21    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   22    particular book, and would require Meta to conduct an analysis of a third party database that is

                   23    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   24    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   25    work—information that is outside of Meta’s possession, custody, or control.

                   26            Meta admits that some text from a published and commercially-available version of
                   27    Embraced is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   28    information sufficient to form a belief as to the truth of this request, and on that basis denies it.
COOLEY LLP
ATTORNEYS AT LAW                                                                                  META’S AMENDED OBJ & RESPS TO
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                    1    REQUEST FOR ADMISSION NO. 78:

                    2           Admit that the Books3 database contains Plaintiff Lysa TerKeurst’s work Unglued.

                    3    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 78:

                    4           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    5    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    6    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    7    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    8    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    9    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   10    particular book, and would require Meta to conduct an analysis of a third party database that is

                   11    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   12    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   13    work—information that is outside of Meta’s possession, custody, or control.

                   14           Meta admits that some text from a published and commercially-available version of

                   15    Unglued is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   16    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   17    REQUEST FOR ADMISSION NO. 79:

                   18           Admit that the Books3 database contains Plaintiff Lysa TerKeurst’s work Made to Crave

                   19    Devotional.

                   20    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 79:
                   21           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   22    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   23    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   24    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   25    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   26    burdensome for Meta to determine whether the books3 dataset contains the entirety of any
                   27    particular book, and would require Meta to conduct an analysis of a third party database that is

                   28    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    2    work—information that is outside of Meta’s possession, custody, or control.

                    3            Meta admits that some text from a published and commercially-available version of Made

                    4    to Crave Devotional is included in the third party Books3 dataset. Except as expressly admitted,

                    5    Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                    6    denies it.

                    7    REQUEST FOR ADMISSION NO. 80:

                    8            Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work After Tupac

                    9    & D Foster.

                   10    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 80:

                   11            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   12    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   13    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   14    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   15    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   16    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   17    particular book, and would require Meta to conduct an analysis of a third party database that is

                   18    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   19    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   20    work—information that is outside of Meta’s possession, custody, or control.
                   21            Meta admits that some text from a published and commercially-available version of After

                   22    Tupac & D Foster is included in the third party Books3 dataset. Except as expressly admitted,

                   23    Meta lacks information sufficient to form a belief as to the truth of this request, and on that basis

                   24    denies it.

                   25    REQUEST FOR ADMISSION NO. 81:

                   26            Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Another
                   27    Brooklyn.

                   28    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 81:
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
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                    1           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    2    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    3    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    4    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    5    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    6    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    7    particular book, and would require Meta to conduct an analysis of a third party database that is

                    8    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    9    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   10    work—information that is outside of Meta’s possession, custody, or control.

                   11           Meta admits that some text from a published and commercially-available version of Another

                   12    Brooklyn is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   13    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   14    REQUEST FOR ADMISSION NO. 82:

                   15           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Behind You.

                   16    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 82:

                   17           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   18    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   19    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   20    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,
                   21    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   22    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   23    particular book, and would require Meta to conduct an analysis of a third party database that is

                   24    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   25    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   26    work—information that is outside of Meta’s possession, custody, or control.
                   27           Meta admits that some text from a published and commercially-available version of Behind

                   28    You is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                    2    REQUEST FOR ADMISSION NO. 83:

                    3           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Beneath a

                    4    Meth Moon.

                    5    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 83:

                    6           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    7    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    8    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    9    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   10    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   11    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   12    particular book, and would require Meta to conduct an analysis of a third party database that is

                   13    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   14    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   15    work—information that is outside of Meta’s possession, custody, or control.

                   16           Meta admits that some text from a published and commercially-available version of Beneath

                   17    a Meth Moon is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   18    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                   19    it.

                   20    REQUEST FOR ADMISSION NO. 84:
                   21           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Brown Girl

                   22    Dreaming.

                   23    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 84:

                   24           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   25    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   26    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
                   27    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   28    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    2    particular book, and would require Meta to conduct an analysis of a third party database that is

                    3    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    4    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    5    work—information that is outside of Meta’s possession, custody, or control.

                    6           Meta admits that some text from a published and commercially-available version of Brown

                    7    Girl Dreaming is included in the third party Books3 dataset. Except as expressly admitted, Meta

                    8    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies

                    9    it.

                   10    REQUEST FOR ADMISSION NO. 85:

                   11           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Feathers.

                   12    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 85:

                   13           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   14    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   15    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   16    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   17    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   18    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   19    particular book, and would require Meta to conduct an analysis of a third party database that is

                   20    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this
                   21    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   22    work—information that is outside of Meta’s possession, custody, or control.

                   23           Meta admits that some text from a published and commercially-available version of

                   24    Feathers is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   25    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   26    REQUEST FOR ADMISSION NO. 86:
                   27           Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Harbor Me.

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 86:

                    2              Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    3    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                    4    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                    5    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    6    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    7    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    8    particular book, and would require Meta to conduct an analysis of a third party database that is

                    9    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   10    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   11    work—information that is outside of Meta’s possession, custody, or control.

                   12              Meta admits that some text from a published and commercially-available version of Harbor

                   13    Me is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   14    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   15    REQUEST FOR ADMISSION NO. 87:

                   16              Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work If You Come

                   17    Softly.

                   18    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 87:

                   19              Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   20    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and
                   21    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   22    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   23    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   24    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   25    particular book, and would require Meta to conduct an analysis of a third party database that is

                   26    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this
                   27    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   28    work—information that is outside of Meta’s possession, custody, or control.
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1            Meta admits that some text from a published and commercially-available version of If You

                    2    Come Softly is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                    3    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                    4    REQUEST FOR ADMISSION NO. 88:

                    5            Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Miracle’s

                    6    Boys.

                    7    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 88:

                    8            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    9    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   10    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and

                   11    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                   12    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                   13    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                   14    particular book, and would require Meta to conduct an analysis of a third party database that is

                   15    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                   16    Request to the extent that it presumes that the referenced author in fact authored the referenced

                   17    work—information that is outside of Meta’s possession, custody, or control.

                   18            Meta admits that some text from a published and commercially-available version of

                   19    Miracle’s Boys is included in the third party Books3 dataset. Except as expressly admitted, Meta

                   20    lacks information sufficient to form a belief as to the truth of this request, and on that basis denies
                   21    it..

                   22    REQUEST FOR ADMISSION NO. 89:

                   23            Admit that the Books3 database contains Plaintiff Jacqueline Woodson’s work Red at the

                   24    Bone.

                   25    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 89:

                   26            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   27    applicable to this Request. Meta objects to the term “contains” as vague and ambiguous and

                   28    unintelligible in the context of this RFA. Meta objects to the term “Books3 database” as vague and
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    ambiguous. Meta will construe this term to mean the third party dataset that Meta did not create,

                    2    commonly known as Books3. Meta further objects to this Request on the ground that it is unduly

                    3    burdensome for Meta to determine whether the books3 dataset contains the entirety of any

                    4    particular book, and would require Meta to conduct an analysis of a third party database that is

                    5    equally accessible to Plaintiffs for every word of any particular work. Meta further object to this

                    6    Request to the extent that it presumes that the referenced author in fact authored the referenced

                    7    work—information that is outside of Meta’s possession, custody, or control.

                    8           Meta admits that some text from a published and commercially-available version of Red at

                    9    the Bone is included in the third party Books3 dataset. Except as expressly admitted, Meta lacks

                   10    information sufficient to form a belief as to the truth of this request, and on that basis denies it.

                   11
                         Dated: December 13, 2024                                 COOLEY LLP
                   12

                   13                                                        By: /s/Judd Lauter
                                                                                 Bobby Ghajar
                   14                                                            Mark Weinstein
                                                                                 Kathleen Hartnett
                   15                                                            Judd Lauter
                                                                                 Liz Stameshkin
                   16                                                            Colette Ghazarian
                   17                                                            LEX LUMINA PLLC
                         Full Counsel List                                       Mark A. Lemley
                   18    COOLEY LLP                                              CLEARY GOTTLIEB STEEN &
                         PHILLIP MORTON (pro hac vice)                           HAMILTON LLP
                   19    (pmorton@cooley.com)
                         COLE A. POPPELL (pro hac vice)                          Angela L. Dunning
                   20    (cpoppell@cooley.com)                                    Attorneys for Defendant
                         1299 Pennsylvania Avenue, NW, Suite 700                  META PLATFORMS, INC.
                   21    Washington, DC 20004-2400
                         Telephone:    (202) 842-7800
                   22
                         COOLEY LLP
                   23    MATTHEW BRIGHAM (191428)
                         (mbrigham@cooley.com)
                   24    JUAN PABLO GONZALEZ (334470)
                         (jgonzalez@cooley.com)
                   25    3175 Hanover Street
                         Palo Alto, CA 94304-1130
                   26    Telephone:    (650) 843-5000

                   27    LEX LUMINA PLLC
                         MARK A. LEMLEY (155830)
                   28    (mlemley@lex-lumina.com)
                         745 Fifth Avenue, Suite 500
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    New York, NY 10151
                         Telephone:  (646) 898-2055
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COOLEY LLP
ATTORNEYS AT LAW                                                               META’S AMENDED OBJ & RESPS TO
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                    1                                          PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am

                    3    employed in Los Angeles County, State of California, in the office of a member of the bar of this

                    4    Court, at whose direction the service was made. I am over the age of eighteen years, and not a

                    5    party to the within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite

                    6    900, Los Angeles, CA 90071. On the date set forth below I served the documents described

                    7    below in the manner described below:

                    8       •   DEFENDANT META PLATFORMS, INC.’S AMENDED OBJECTIONS AND RESPONSES TO
                                PLAINTIFFS’ FIRST SET OF REQUESTS FOR ADMISSIONS
                    9

                   10                  (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                                        practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13    Service list on next page.

                   14           Executed on December 13, 2024, at Los Angeles, California.

                   15
                                                                          /s/Jerry Gonzalez
                   16                                                     Jerry Gonzalez
                   17

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COOLEY LLP                                                                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
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                    1                                             SERVICE LIST

                    2    Joseph R. Saveri                                Joshua I. Schiller, Esq.
                         Cadio Zirpoli                                   Maxwell Vaughn Pritt, Esq.
                    3    Christopher K.L. Young                          BOIES SCHILLE FLEXNER
                         Holden Benon                                    44 Montgomery Street, 41st Floor
                    4
                         Louis Andrew Kessler                            San Francisco, CA 94104
                    5    Aaron Cera                                      Email: jischiller@bsfllp.com
                         Margaux Poueymirou                                     mpritt@bsfllp.com
                    6    JOSEPH SAVERI LAW FIRM, LLP
                         601 California Street, Suite 1000               David Boise, Esq. (admitted pro hac vice)
                    7    San Francisco, CA 94108                         BOIES SCHILLER FLEXNER
                    8    Email: jsaveri@saverilawfirm.com                333 Main Street
                                czirpoli@saverilawfirm.com               Armonk, NY 10504
                    9           cyoung@saverilawfirm.com
                                                                         Email: dboies@bsfllp.com
                                hbenon@saverilawfirm.com
                   10           lkessler@saverilawfirm.com               Jesse Panuccio (admitted pro hac vice)
                                acera@saverilawfirm.com
                   11           mpoueymirou@saverilawfirm.com            BOIES SCHILLER FLEXNER
                                                                         1401 New York Ave. NW
                   12                                                    Washington, DC 20005
                         Matthew Butterick
                         MATTHEW BUTTERICK,                              Email: jpanuccio@bsfllp.com
                   13
                         ATTORNEY AT LAW
                   14    1920 Hillhurst Avenue, #406                     Attorneys for Individual and Representative
                         Los Angeles, CA 90027                           Plaintiffs and the Proposed Class
                   15    Email: mb@buttericklaw.com
                                                                         Brian O’Mara
                   16    Attorneys for Individual and Representative     DiCELLO LEVITT LLP
                         Plaintiffs and the Proposed Class               4747 Executive Drive, Suite 240
                   17                                                    San Diego, CA 92121
                         Bryan L. Clobes (admitted pro hac vice)         Email: BrianO@dicellolevitt.com
                   18
                         Alexander J. Sweatman (admitted pro hac vice)
                   19    Mohammed Rathur                                 Amy Keller (admitted pro hac vice)
                         CAFFERTY CLOBES MERIWETHER                      James A. Ulwick (admitted pro hac vice)
                   20    & SPRENGEL LLP                                  Nada Djordjevic (admitted pro hac vice)
                         135 South LaSalle Street, Suite 3210            DiCELLO LEVITT LLP
                   21    Chicago, IL 60603                               10 North Dearborn St., Sixth Floor
                         Email: bclobes@caffertyclobes.com               Chicago, IL 60602
                   22                                                    Email: akeller@dicellolevitt.com
                                asweatman@caffertyclobes.com
                   23           mrathur@caffertyclobes.com                      julwick@dicellolevitt.com
                                                                                ndjordjevic@dicellolevitt.com
                   24    Attorneys for Individual and Representative
                         Plaintiffs and the Proposed Class               David A. Straite (admitted pro hac vice)
                   25                                                    DiCELLO LEVITT LLP
                                                                         485 Lexington Avenue, Suite 1001
                   26                                                    New York, NY 10017
                                                                         Email: dstraite@dicellolevitt.com
                   27
                                                                         Attorneys for Plaintiff Lysa TerKeurst
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                       META’S AMENDED OBJ & RESPS TO
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                    1    Elizabeth J. Cabraser, Esq.                          Nancy Evelyn Wolff
                         Daniel M. Hutchinson, Esq.                           COWAN DEBAETS ABRAHAMS &
                    2    Reilly T. Stoler, Esq.                               SHEPPARD LLP
                         LIEFF CABRASER HEIMANN &
                    3    BERNSTEIN, LLP                                       9454 Wilshire Boulevard, Suite 901
                         275 Battery Street, 29th Floor                       Beverly Hills, CA 90212
                    4    San Francisco, CA 94111-3339                         Telephone: (310) 340-6334
                         Telephone: (415) 956-1000                            Fax: (310) 492-4394
                    5    Email: ecabraser@lchb.com                            Email: NWolff@cdas.com
                                dhutchinson@lchb.com
                    6           rstoler@lchb.com
                                                                              Scott J. Sholder
                    7    Rachel Geman
                         LIEFF CABRASER HEIMANN &                             CeCe M. Cole
                    8    BERNSTEIN, LLP                                       COWAN DEBAETS ABRAHAMS &
                         250 Hudson Street, 8th Floor                         SHEPPARD LLP
                    9    New York, New York 10013-1413                        60 Broad Street, 30th Floor
                         Telephone: (212) 355-9500                            New York, New York 10004
                   10    Email: rgeman@lchb.com                               Telephone: (212) 974-7474
                   11                                                         Email: ssholder@cdas.com
                         Attorneys for Plaintiff Christopher Farnsworth               ccole@cdas.com
                   12    and Representative Plaintiffs and the Proposed
                         Class                                                Attorneys for Plaintiff Christopher Farnsworth
                   13                                                         and Representative Plaintiffs and the Proposed
                                                                              Class
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                    1    COOLEY LLP
                         BOBBY GHAJAR (198719)
                    2    (bghajar@cooley.com)
                         TERESA MICHAUD (296329)
                    3    (tmichaud@cooley.com)
                         COLETTE GHAZARIAN (322235)
                    4    (cghazarian@cooley.com)
                         1333 2nd Street, Suite 400
                    5    Santa Monica, California 90401
                         Telephone:     (310) 883-6400
                    6    MARK WEINSTEIN (193043)
                         (mweinstein@cooley.com)
                    7    KATHLEEN HARTNETT (314267)
                         (khartnett@cooley.com)
                    8    JUDD LAUTER (290945)
                         (jlauter@cooley.com)
                    9    ELIZABETH L. STAMESHKIN (260865)
                         (lstameshkin@cooley.com)
                   10    3175 Hanover Street
                         Palo Alto, CA 94304-1130
                   11    Telephone:     (650) 843-5000
                   12    CLEARY GOTTLIEB STEEN & HAMILTON LLP
                         ANGELA L. DUNNING (212047)
                   13    (adunning@cgsh.com)
                         1841 Page Mill Road, Suite 250
                   14    Palo Alto, CA 94304
                         Telephone: (650) 815-4131
                   15    [Full Listing on Signature Page]
                   16    Counsel for Defendant Meta Platforms, Inc.
                   17                               UNITED STATES DISTRICT COURT

                   18                            NORTHERN DISTRICT OF CALIFORNIA

                   19                                       SAN FRANCISCO DIVISION

                   20    RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC
                   21    Individual and Representative
                                                                        DEFENDANT META PLATFORMS, INC.’S
                   22                         Plaintiffs,               AMENDED OBJECTIONS AND RESPONSES TO
                                                                        PLAINTIFFS’ SECOND SET OF REQUESTS
                   23           v.                                      FOR ADMISSIONS

                   24    META PLATFORMS, INC., a Delaware
                         corporation;
                   25
                                              Defendant.
                   26
                   27

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ATTORNEYS AT LAW                                                                     META’S AMENDED OBJ & RESPS TO
                                                                                        PLTF’S SECOND SET OF RFA’S
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                    1    PROPOUNDING PARTY:             PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                        GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                                   DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                                                        RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                    3                                   TERKEURST, AND CHRISTOPHER FARNSWORTH

                    4    RESPONDING PARTY:              DEFENDANT META PLATFORMS, INC.

                    5    SET NUMBER:                    SECOND

                    6           Pursuant to Rule 36 of the Federal Rules of Civil Procedure (“Rules”), Defendant Meta
                    7    Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,
                    8    Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,
                    9    Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and
                   10    Christopher Farnsworth’s Second Set of Requests for Admissions (“Requests”).
                   11    I.     OBJECTIONS AND RESPONSES TO ALL REQUESTS
                   12           1.      Meta’s responses to the Requests are made to the best of Meta’s present knowledge,
                   13    information, and belief. Said responses are at all times subject to such additional or different
                   14    information that discovery or further investigation may disclose, and Meta reserves the right to
                   15    amend, revise, correct, supplement, or clarify the responses and objections propounded herein.
                   16           2.      To the extent a Request seeks information that Meta deems to embody material that
                   17    is private, business confidential, proprietary, trade secret, or otherwise protected from disclosure
                   18    pursuant to Rule 26(c) and/or Federal Rule of Evidence 501, Meta will only provide such
                   19    information subject to, and in accordance with, the parties’ stipulated protective order (ECF No.
                   20    90, the “Protective Order”).
                   21           3.      The provision of a response to any of these Requests does not constitute a waiver of
                   22    any objection regarding the use of said response in these proceedings. Meta reserves all objections
                   23    or other questions as to the competency, relevance, materiality, privilege or admissibility as
                   24    evidence in any subsequent proceeding in or trial of this or any other action for any purpose
                   25    whatsoever of this response and any document or thing produced in response to the Requests.
                   26           4.      Meta objects to Plaintiffs’ Requests insofar as the numbering of the Requests
                   27    overlaps with the numbering of Plaintiffs’ First Set of Requests for Admissions. To avoid
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ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
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                    1    confusion, Meta has numbered its responses consecutively based on Plaintiffs’ First Set of Requests

                    2    for Admissions, beginning with “Request for Admission No. 90.”

                    3           5.      Meta reserves the right to object on any ground at any time to such other or

                    4    supplemental requests for admission that Plaintiffs may propound involving or relating to the

                    5    subject matter of these Requests.

                    6    II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

                    7           Whether or not separately set forth in response to each Request, Meta makes these

                    8    objections to the following Instructions and Definitions.

                    9           1.      Meta objects to the definition of “You,” “Your,” and “Meta Platforms” as

                   10    overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent that it

                   11    purports to require Meta to produce documents outside of its possession, custody, or control. Meta

                   12    construes “Meta” or “You” to mean Meta Platforms, Inc.

                   13           2.      Meta objects to Instruction 1 as vague and ambiguous as to “Plaintiffs’ Second Set

                   14    of Requests for Production of Documents,” as Plaintiffs also served “Plaintiffs’ Corrected Second

                   15    Set of Requests for Production” on the same day, March 20, 2024. Meta further objects to

                   16    Instruction 1 to the extent that the instructions set forth in Plaintiffs’ Second Set of Requests for

                   17    Production of Documents are inapplicable to responding to requests for admission. To the extent

                   18    those instructions are applicable to responding to the Requests, Meta incorporates its Objections to

                   19    Instructions and Definitions set forth in its Objections and Responses to Plaintiffs’ Corrected

                   20    Second Set of Requests for Production of Documents.
                   21           3.      Meta objects to Instruction 2 as overbroad and unduly burdensome to the extent that

                   22    it purports to require more of Meta than any obligation imposed by law. Meta also objects to this

                   23    instruction on the ground that it improperly demands narrative responses, which are the proper

                   24    subject not of requests for admissions but of interrogatories, and thereby seeks to circumvent the

                   25    interrogatory limit.

                   26           4.      Meta objects to Instruction No. 5 as vague, ambiguous, and unintelligible. Meta
                   27    will answer the Requests as provided under Rule 36(a)(4).

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                    1           5.      Meta objects to Instruction Nos. 8 and 9 as overbroad and unduly burdensome to the

                    2    extent that they purport to require more of Meta than any obligation imposed by law.

                    3           6.      Meta objects to Instruction 10 as overbroad and unduly burdensome to the extent

                    4    that it purports to require more of Meta than any obligation imposed by law. Meta also objects to

                    5    this instruction on the ground that it improperly demands narrative responses, which are the proper

                    6    subject not of requests for admissions but of interrogatories, and thereby seeks to circumvent the

                    7    interrogatory limit.

                    8    III.   AMENDED OBJECTIONS AND RESPONSES TO INDIVIDUAL DOCUMENT REQUESTS

                    9    REQUEST FOR ADMISSION NO. 90:

                   10           Admit that Blood Oath by Christopher Farnsworth was included in a dataset used to train

                   11    Your large language models.

                   12    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 90:

                   13           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   14    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   15    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   16    the needs of the case to the extent that it purports to include large language models (“LLMs”) that

                   17    were not publicly released and/or were not trained on corpuses of text that allegedly include any of

                   18    Plaintiffs’ allegedly copyrighted works. Meta construes the term “large language models” to mean

                   19    the models within the Llama family of LLMs that have been or are being developed by Meta,

                   20    namely, Llama 1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5.
                   21           Meta further objects to this Request on the ground that it is unduly burdensome for Meta to

                   22    determine whether the datasets used to train Meta’s large language models (as construed above)

                   23    contain the entirety of the text of any particular book, and would require Meta to conduct an analysis

                   24    of a third party database that is equally accessible to Plaintiffs for every word of any particular

                   25    work. Meta further object to this Request to the extent that it presumes that the referenced author

                   26    in fact authored the referenced work—information that is outside of Meta’s possession, custody, or
                   27    control.

                   28
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ATTORNEYS AT LAW                                                                             META’S AMENDED OBJ & RESPS TO
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                    1           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    2    admits that text from a published and commercially-available version of Blood Oath is included in

                    3    a dataset used to train Meta’s large language models, as that term is construed above. Except as

                    4    expressly admitted, Meta lacks information sufficient to form a belief as to the truth of this request,

                    5    and on that basis denies it.

                    6    REQUEST FOR ADMISSION NO. 91:

                    7           Admit that The President’s Vampire by Christopher Farnsworth was included in a dataset

                    8    used to train Your large language models.

                    9    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 91:

                   10           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   11    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   12    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   13    the needs of the case to the extent that it purports to include large language models that were not

                   14    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   15    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   16    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   17    1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5.

                   18           Meta further objects to this Request on the ground that it is unduly burdensome for Meta to

                   19    determine whether the datasets used to train Meta’s large language models (as construed above)

                   20    contain the entirety of the text of any particular book, and would require Meta to conduct an analysis
                   21    of a third party database that is equally accessible to Plaintiffs for every word of any particular

                   22    work. Meta further object to this Request to the extent that it presumes that the referenced author

                   23    in fact authored the referenced work—information that is outside of Meta’s possession, custody, or

                   24    control.

                   25           Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   26    admits that text from a published and commercially-available version of The President’s Vampire
                   27    is included in a dataset used to train Meta’s large language models, as that term is construed

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                    1    above. Except as expressly admitted, Meta lacks information sufficient to form a belief as to the

                    2    truth of this request, and on that basis denies it.

                    3    REQUEST FOR ADMISSION NO. 92:

                    4            Admit that Red, White, and Blood by Christopher Farnsworth was included in a dataset used

                    5    to train Your large language models.

                    6    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 92:

                    7            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    8    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    9    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   10    the needs of the case to the extent that it purports to include large language models that were not

                   11    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   12    allegedly copyrighted works. Meta construes “large language models” to mean the models within

                   13    the Llama family of LLMs that have been or are being developed by Meta, namely, Llama 1, Llama

                   14    2, Code Llama, Llama 3, Llama 4, and Llama 5. Meta further objects to this Request on the ground

                   15    that the referenced work, Red, White, and Blood, is not alleged to be at issue in this action.

                   16    REQUEST FOR ADMISSION NO. 93:

                   17            Admit that The Burning Men: A Nathaniel Cade Story by Christopher Farnsworth was

                   18    included in a dataset used to train Your large language models.

                   19    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 93:

                   20            Meta incorporates by reference its Objections to Instructions and Definitions, which are
                   21    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   22    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   23    the needs of the case to the extent that it purports to include large language models that were not

                   24    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   25    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   26    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama
                   27    1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5. Meta further objects to this Request on

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                    1    the ground that the referenced work, The Burning Men: A Nathaniel Cade Story is not alleged to

                    2    be at issue in this action.

                    3    REQUEST FOR ADMISSION NO. 94:

                    4            Admit that The Eternal World by Christopher Farnsworth was included in a dataset used to

                    5    train Your large language models.

                    6    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 94:

                    7            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    8    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    9    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   10    the needs of the case to the extent that it purports to include large language models that were not

                   11    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   12    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   13    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   14    1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5.

                   15            Meta further objects to this Request on the ground that it is unduly burdensome for Meta to

                   16    determine whether the datasets used to train Meta’s large language models (as construed above)

                   17    contain the entirety of the text of any particular book, and would require Meta to conduct an analysis

                   18    of a third party database that is equally accessible to Plaintiffs for every word of any particular

                   19    work. Meta further object to this Request to the extent that it presumes that the referenced author

                   20    in fact authored the referenced work—information that is outside of Meta’s possession, custody, or
                   21    control.

                   22            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   23    admits that text from a published and commercially-available version of The Eternal World is

                   24    included in a dataset used to train Meta’s large language models, as that term is construed

                   25    above. Except as expressly admitted, Meta lacks information sufficient to form a belief as to the

                   26    truth of this request, and on that basis denies it.
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                    1    REQUEST FOR ADMISSION NO. 95:

                    2           Admit that Killfile by Christopher Farnsworth was included in a dataset used to train Your

                    3    large language models.

                    4    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 95:

                    5           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    6    applicable to this Request. Meta further objects to the term “large language models” as vague,

                    7    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                    8    the needs of the case to the extent that it purports to include large language models that were not

                    9    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   10    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   11    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   12    1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5. Meta further objects to this Request on

                   13    the ground that the referenced work, Killfile, is not alleged to be at issue in this action.

                   14    REQUEST FOR ADMISSION NO. 96:

                   15           Admit that Flashmob by Christopher Farnsworth was included in a dataset used to train

                   16    Your large language models.

                   17    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 96:

                   18           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   19    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   20    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to
                   21    the needs of the case to the extent that it purports to include large language models that were not

                   22    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   23    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   24    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama

                   25    1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5.

                   26           Meta further objects to this Request on the ground that it is unduly burdensome for Meta to
                   27    determine whether the datasets used to train Meta’s large language models (as construed above)

                   28    contain the entirety of the text of any particular book, and would require Meta to conduct an analysis
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S AMENDED OBJ & RESPS TO
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                    1    of a third party database that is equally accessible to Plaintiffs for every word of any particular

                    2    work. Meta further object to this Request to the extent that it presumes that the referenced author

                    3    in fact authored the referenced work—information that is outside of Meta’s possession, custody, or

                    4    control.

                    5            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                    6    admits that text from a published and commercially-available version of Flashmob is included in a

                    7    dataset used to train Meta’s large language models, as that term is construed above. Except as

                    8    expressly admitted, Meta lacks information sufficient to form a belief as to the truth of this request,

                    9    and on that basis denies it.

                   10    REQUEST FOR ADMISSION NO. 97:

                   11            Admit that Deep State: A Nathaniel Cade Story by Christopher Farnsworth was included in

                   12    a dataset used to train Your large language models.

                   13    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 97:

                   14            Meta incorporates by reference its Objections to Instructions and Definitions, which are

                   15    applicable to this Request. Meta further objects to the term “large language models” as vague,

                   16    ambiguous, and undefined, as well as overbroad, and unduly burdensome, and disproportionate to

                   17    the needs of the case to the extent that it purports to include large language models that were not

                   18    publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   19    allegedly copyrighted works. Meta construes the term “large language models” to mean the models

                   20    within the Llama family of LLMs that have been or are being developed by Meta, namely, Llama
                   21    1, Llama 2, Code Llama, Llama 3, Llama 4, and Llama 5. Meta further objects to this Request on

                   22    the ground that the referenced work, Deep State: A Nathaniel Cade Story, is not alleged to be at

                   23    issue in this action.

                   24    REQUEST FOR ADMISSION NO. 98:

                   25            Admit that you used books sourced from Books3 to train one or more of your large language

                   26    models.
                   27

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                                                                     8                           PLTF’S SECOND SET OF RFA’S
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                    1    AMENDED RESPONSE TO REQUEST FOR ADMISSION NO. 98:

                    2           Meta incorporates by reference its Objections to Instructions and Definitions, which are

                    3    applicable to this Request. Meta objects to this Request and vague, ambiguous, and unintelligible,

                    4    as written. It is not clear to Meta what it means to use “books sourced from Books3.” Meta further

                    5    objects to the term “large language models” as vague, ambiguous, and undefined, as well as

                    6    overbroad, and unduly burdensome, and disproportionate to the needs of the case to the extent that

                    7    it purports to include large language models that were not publicly released and/or were not trained

                    8    on corpuses of text that allegedly include any of Plaintiffs’ allegedly copyrighted works. Meta

                    9    construes the term “large language models” to mean the models within the Llama family of LLMs

                   10    that have been or are being developed by Meta, namely, Llama 1, Llama 2, Code Llama, Llama 3,

                   11    Llama 4, and Llama 5.

                   12           Subject to and without waiving the foregoing objections, Meta responds as follows: As

                   13    written, Meta does not understand this Request and, on that basis, denies the Request. Meta is

                   14    willing to meet and confer to understand how to interpret this Request.

                   15    Dated: December 13, 2024                               COOLEY LLP
                   16
                                                                           By: /s/Judd Lauter
                   17                                                          Bobby Ghajar
                                                                               Mark Weinstein
                   18                                                          Kathleen Hartnett
                                                                               Teresa Michaud
                   19                                                          Judd Lauter
                                                                               Liz Stameshkin
                   20                                                          Colette Ghazarian
                         Full Counsel List
                   21                                                          LEX LUMINA PLLC
                         COOLEY LLP                                            Mark A. Lemley
                   22    PHILLIP MORTON (pro hac vice)                         CLEARY GOTTLIEB STEEN &
                         (pmorton@cooley.com)
                                                                               HAMILTON LLP
                   23    COLE A. POPPELL (pro hac vice)                        Angela L. Dunning
                         (cpoppell@cooley.com)
                   24    1299 Pennsylvania Avenue, NW, Suite 700                Attorneys for Defendant
                         Washington, DC 20004-2400                              META PLATFORMS, INC.
                   25    Telephone:    (202) 842-7800

                   26    COOLEY LLP
                         MATTHEW BRIGHAM (191428)
                   27    (mbrigham@cooley.com)
                         JUAN PABLO GONZALEZ (334470)
                   28    (jgonzalez@cooley.com)
                         3175 Hanover Street
COOLEY LLP
ATTORNEYS AT LAW                                                                            META’S AMENDED OBJ & RESPS TO
                                                                   9                           PLTF’S SECOND SET OF RFA’S
                                                                                                         3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC      Document 352-1   Filed 12/20/24   Page 72 of 75



                    1    Palo Alto, CA 94304-1130
                         Telephone:    (650) 843-5000
                    2
                         LEX LUMINA PLLC
                    3    MARK A. LEMLEY (155830)
                         (mlemley@lex-lumina.com)
                    4    745 Fifth Avenue, Suite 500
                         New York, NY 10151
                    5    Telephone:    (646) 898-2055

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COOLEY LLP
ATTORNEYS AT LAW                                                                 META’S AMENDED OBJ & RESPS TO
                                                             10                     PLTF’S SECOND SET OF RFA’S
                                                                                              3:23-CV-03417-VC
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                    1                                          PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am

                    3    employed in Los Angeles County, State of California, in the office of a member of the bar of this

                    4    Court, at whose direction the service was made. I am over the age of eighteen years, and not a

                    5    party to the within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite

                    6    900, Los Angeles, CA 90071. On the date set forth below I served the documents described

                    7    below in the manner described below:

                    8       •   DEFENDANT META PLATFORMS, INC.’S AMENDED OBJECTIONS AND RESPONSES TO
                                PLAINTIFFS’ SECOND SET OF REQUESTS FOR ADMISSIONS
                    9

                   10                  (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                                        practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13    Service list on next page.

                   14           Executed on December 13, 2024, at Los Angeles, California.

                   15
                                                                          /s/Jerry Gonzalez
                   16                                                     Jerry Gonzalez
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COOLEY LLP                                                                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
                                                                      1                                    3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC        Document 352-1      Filed 12/20/24    Page 74 of 75



                    1                                             SERVICE LIST

                    2    Joseph R. Saveri                                Joshua I. Schiller, Esq.
                         Cadio Zirpoli                                   Maxwell Vaughn Pritt, Esq.
                    3    Christopher K.L. Young                          BOIES SCHILLER FLEXNER
                         Holden Benon                                    44 Montgomery Street, 41st Floor
                    4
                         Louis Andrew Kessler                            San Francisco, CA 94104
                    5    Aaron Cera                                      Email: jischiller@bsfllp.com
                         Margaux Poueymirou                                     mpritt@bsfllp.com
                    6    JOSEPH SAVERI LAW FIRM, LLP
                         601 California Street, Suite 1000               David Boies, Esq. (admitted pro hac vice)
                    7    San Francisco, CA 94108                         BOIES SCHILLER FLEXNER
                    8    Email: jsaveri@saverilawfirm.com                333 Main Street
                                czirpoli@saverilawfirm.com               Armonk, NY 10504
                    9           cyoung@saverilawfirm.com
                                                                         Email: dboies@bsfllp.com
                                hbenon@saverilawfirm.com
                   10           lkessler@saverilawfirm.com               Jesse Panuccio (admitted pro hac vice)
                                acera@saverilawfirm.com
                   11           mpoueymirou@saverilawfirm.com            BOIES SCHILLER FLEXNER
                                                                         1401 New York Ave. NW
                   12                                                    Washington, DC 20005
                         Matthew Butterick
                         MATTHEW BUTTERICK,                              Email: jpanuccio@bsfllp.com
                   13
                         ATTORNEY AT LAW
                   14    1920 Hillhurst Avenue, #406                     Attorneys for Individual and Representative
                         Los Angeles, CA 90027                           Plaintiffs and the Proposed Class
                   15    Email: mb@buttericklaw.com
                                                                         Brian O’Mara
                   16    Attorneys for Individual and Representative     DiCELLO LEVITT LLP
                         Plaintiffs and the Proposed Class               4747 Executive Drive, Suite 240
                   17                                                    San Diego, CA 92121
                         Bryan L. Clobes (admitted pro hac vice)         Email: BrianO@dicellolevitt.com
                   18
                         Alexander J. Sweatman (admitted pro hac vice)
                   19    Mohammed Rathur (admitted pro hac vice)         Amy Keller (admitted pro hac vice)
                         CAFFERTY CLOBES MERIWETHER                      James A. Ulwick (admitted pro hac vice)
                   20    & SPRENGEL LLP                                  Nada Djordjevic (admitted pro hac vice)
                         135 South LaSalle Street, Suite 3210            DiCELLO LEVITT LLP
                   21    Chicago, IL 60603                               10 North Dearborn St., Sixth Floor
                         Email: bclobes@caffertyclobes.com               Chicago, IL 60602
                   22                                                    Email: akeller@dicellolevitt.com
                                asweatman@caffertyclobes.com
                   23           mrathur@caffertyclobes.com                      julwick@dicellolevitt.com
                                                                                ndjordjevic@dicellolevitt.com
                   24    Attorneys for Individual and Representative
                         Plaintiffs and the Proposed Class               David A. Straite (admitted pro hac vice)
                   25                                                    DiCELLO LEVITT LLP
                                                                         485 Lexington Avenue, Suite 1001
                   26                                                    New York, NY 10017
                                                                         Email: dstraite@dicellolevitt.com
                   27
                                                                         Attorneys for Plaintiff Lysa TerKeurst
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                       META’S AMENDED OBJ & RESPS TO
                                                                  2                          PLTF’S FIRST SET OF RFA’S
                                                                                                     3:23-CV-03417-VC
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                    1    Elizabeth J. Cabraser, Esq.                          Nancy Evelyn Wolff
                         Daniel M. Hutchinson, Esq.                           COWAN DEBAETS ABRAHAMS &
                    2    Reilly T. Stoler, Esq.                               SHEPPARD LLP
                         LIEFF CABRASER HEIMANN &
                    3    BERNSTEIN, LLP                                       9454 Wilshire Boulevard, Suite 901
                         275 Battery Street, 29th Floor                       Beverly Hills, CA 90212
                    4    San Francisco, CA 94111-3339                         Telephone: (310) 340-6334
                         Telephone: (415) 956-1000                            Fax: (310) 492-4394
                    5    Email: ecabraser@lchb.com                            Email: NWolff@cdas.com
                                dhutchinson@lchb.com
                    6           rstoler@lchb.com
                                                                              Scott J. Sholder
                    7    Rachel Geman
                         LIEFF CABRASER HEIMANN &                             CeCe M. Cole
                    8    BERNSTEIN, LLP                                       COWAN DEBAETS ABRAHAMS &
                         250 Hudson Street, 8th Floor                         SHEPPARD LLP
                    9    New York, New York 10013-1413                        60 Broad Street, 30th Floor
                         Telephone: (212) 355-9500                            New York, New York 10004
                   10    Email: rgeman@lchb.com                               Telephone: (212) 974-7474
                   11                                                         Email: ssholder@cdas.com
                         Attorneys for Plaintiff Christopher Farnsworth               ccole@cdas.com
                   12    and Representative Plaintiffs and the Proposed
                         Class                                                Attorneys for Plaintiff Christopher Farnsworth
                   13                                                         and Representative Plaintiffs and the Proposed
                                                                              Class
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COOLEY LLP                                                                                                 PROOF OF SERVICE
ATTORNEYS AT LAW
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